  Case: 1:19-cv-00346-DRC Doc #: 49 Filed: 08/27/20 Page: 1 of 63 PAGEID #: 472




                      UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF OHIO
                           WESTERN DIVISION

                                          )
UNITED STATES OF AMERICA,                 )
                                          )
                  Plaintiff,              )
                                          )
        v.                                )         Case No. 1:19-cv-346
                                          )         JUDGE DOUGLAS R. COLE
MILLER-VALENTINE OPERATIONS,              )
et al.,                                   )
                                          )
                  Defendants.             )
_________________________________________ )

                                CONSENT ORDER

                                I. INTRODUCTION

        1.    This action is brought by the United States to enforce provisions of the
Fair Housing Act (“FHA”), 42 U.S.C. §§ 3601–3619, and the Americans with
Disabilities Act (“ADA”), 42 U.S.C. §§ 12181–12189. Specifically, the United States’
Complaint alleges that Defendants identified in paragraph 2, below, have engaged in
a pattern or practice of discrimination against persons with disabilities and denied
rights to a group of persons because of disability by failing to design and construct
the following covered multifamily dwellings (the “Subject Properties”) with the
features of accessible and adaptive design and construction required by subsections
804(f)(1), 804(f)(2) and 804(f)(3)(C) of the FHA, 42 U.S.C. §§ 3604(f)(1), (f)(2), and
(f)(3)(C), and, with the exception of Bent Tree Apartments II; Indian Trace II; Lofts
at One West High Street; Meadow View South; Scioto Woods I; Stone Creek
Apartments; The Landings at Steele Creek I; and Twin Cedars I, in a manner
required by the ADA, 42 U.S.C. § 12183(a)(1):

      1.     Galena Estates, Galena, KS
      2.     Reserve at Oak Spring, Clarksburg, WV
      3.     Lyons Place II, Dayton, OH
      4.     Oak Ridge Apartments, Nolanville, TX
      5.     Reserve at Spencer, Spencer, OK
      6.     Fairway Breeze Apartments, El Reno, OK
      7.     Silversage Point at Western Center, Fort Worth, TX
      8.     Hampshire Landing, Joplin, MO
      9.     Riverside Landing at Delaware Place, Delaware, OH
Case: 1:19-cv-00346-DRC Doc #: 49 Filed: 08/27/20 Page: 2 of 63 PAGEID #: 473




   10.    St. Bernard Commons, St. Bernard, OH
   11.    Twin Lakes Senior Villas, Rantoul, IL
   12.    Carriage Trails Senior Villas, Huber Heights, OH
   13.    Gallatin Park Apartments, Gallatin, TN
   14.    Meadow Vista Senior Villas, Altoona, IA
   15.    Summit Pointe, Lawrenceburg, IN
   16.    The Enclave at Winston-Salem, Winston-Salem, NC
   17.    Whitehouse Square Senior Villas, Whitehouse, OH
   18.    Allegheny Pointe, Apollo, PA
   19.    Lyons Place I, Dayton, OH
   20.    Waterstone Landing, Perrysburg, OH
   21.    Lofts at One West High, Oxford, OH
   22.    St. Rita’s Senior Housing, Garfield Heights, OH
   23.    Faith Community Housing, Crestline, OH
   24.    Lake Towne Senior, Walbridge, OH
   25.    Queen Esther’s Village, Canton, OH
   26.    Walkers Ridge Apartments, Greensburg, PA
   27.    Walnut Run Senior Villas, Cortland, OH
   28.    Harmony Senior Village, Williamsburg, OH
   29.    Lofts at Hoover, Dayton, OH
   30.    Pinecrest Apartments, Walkertown, NC
   31.    Pine Ridge, Logan, OH
   32.    Riverview Bluffs, New Richmond, OH
   33.    Villas at Twin Cedars, Hickory, NC
   34.    Pheasant Run Senior, Dayton, OH
   35.    Scioto Woods II, Chillicothe, OH
   36.    Wright Place Apartments, Xenia, OH
   37.    Madison Place Senior, Gastonia, NC
   38.    Honey Creek, Greenwood, IN
   39.    River Crossing, Charlotte, NC
   40.    Sandhurst, Zanesville, OH
   41.    The Landings at Steele Creek I, Charlotte, NC
   42.    Twin Cedars I, Hickory, NC
   43.    Deerfield Crossing, Lebanon, OH
   44.    Holly Hills Apartments, Jackson, OH
   45.    Mallard Glen, Amelia, OH
   46.    Mallard Landing, Marion, OH
   47.    The Landings at Steele Creek II, Charlotte, NC
   48.    Twin Cedars II, Hickory, NC
   49.    Bridge Street Landing, Chillicothe, OH
   50.    Brookdale Trillium Crossing, Columbus, OH
   51.    Brookstone Apartments, Bellefontaine, OH
   52.    Cedar Wood Apartments, Mansfield, OH
   53.    Meadow Creek Apartments, Bryan, OH



                                     2
     Case: 1:19-cv-00346-DRC Doc #: 49 Filed: 08/27/20 Page: 3 of 63 PAGEID #: 474




        54.    Mill Pond, Muncie, IN
        55.    Oak Wood Apartments, Lexington, OH
        56.    Sycamore Creek Apartments, Sidney, OH
        57.    Timberlake Apartments, Vandalia, OH
        58.    Windsor Place, Beavercreek, OH
        59.    Bent Tree Apartments II, Piqua, OH
        60.    Eagles Point Apartments, Kenton, OH
        61.    Glen Arbors Apartments, Napoleon, OH
        62.    Hoover Place, Dayton, OH
        63.    Indian Trace II, Oxford, OH
        64.    Waterbury Apartments, Decatur, IN
        65.    Breckenridge Apartments, Findlay, OH
        66.    Fox Run, Trotwood, OH
        67.    Hunter’s Oak Apartments, Greenville, OH
        68.    Indian Trace I, Oxford, OH
        69.    Quail Run Apartments, Van Wert, OH
        70.    Scioto Woods I, Chillicothe, OH
        71.    Aspen Grove Apartments, Middletown, OH
        72.    Bent Tree Apartments I, Piqua, OH
        73.    Cobblegate Square Apartments, Moraine, OH
        74.    Siena Village Senior Living, Dayton, OH
        75.    Stone Creek Apartments, Moraine, OH
        76.    Timber Glen II (TGII), Batavia, OH
        77.    Timber Ridge Apartments, Dayton, OH
        78.    Weaver Farm Apartments, Florence, KY
        79.    Wind Ridge Apartments, Tipp City, OH
        80.    Cedar Trail, Bellbrook, OH
        81.    Harbour Cove Apartments, Cincinnati, OH
        82.    Meadow View South, Springboro, OH

For purposes of this Consent Order (“Order”), the United States and Defendants
agree that the Subject Properties are subject to the accessible design and construction
requirements of the FHA, 42 U.S.C. §§ 3604(f)(1), (f)(2), and (f)(3)(C), and, with the
exception of Bent Tree Apartments II; Indian Trace II; Lofts at One West High Street;
Meadow View South; Scioto Woods I; Stone Creek Apartments; The Landings at
Steele Creek I; and Twin Cedars I, the ADA, 42 U.S.C. § 12183(a)(1).

A.      Defendants

      2.    Defendants MVO Holdings, LLC 1; Miller-Valentine Construction, Inc.;
Miller-Valentine Partners Ltd.; Miller-Valentine Partners Ltd. II; Miller-Valentine

1 MVO Holdings, LLC purchased and was assigned all of the assets and liabilities of Miller-

Valentine Operations, Inc., including all subsidiaries such as the construction and
development entities.


                                            3
     Case: 1:19-cv-00346-DRC Doc #: 49 Filed: 08/27/20 Page: 4 of 63 PAGEID #: 475




Apartments Ltd.; Miller-Valentine Apartments II Ltd; Miller-Valentine Apartments
III LLC; MV Commercial Construction LLC; MV Residential Construction, Inc.; MV
Affordable Housing LLC; MV Residential Development LLC; Allegheny Pointe
Limited Partnership; Carriage Trails Senior Village, LLC; MV/ALG Deerfield
Crossings Limited; Galena Estates, LLC; Gallatin Park Apartments, LLC;
Hampshire Terrace II Limited Partnership; Harmony Senior Village, LLC; MV/ALG
Honey Creek Limited; Indian Trace Limited Partnership; Arrowhead Crossing
Limited; Lake Towne Senior Village, LLC; Madison Place Senior Apartments, LLC;
MV/ALG Mallard Landing Limited; Meadow Vista Senior Villas, LLC; MV/ALG Mill
Pond Limited; TX Nolanville Apartments, Ltd. Co.; Pinecrest Apartments, LLC;
Reserve at Rose Bud, LLC; Reserve at Spencer, LLC; MV/ALG River Crossing
Limited; Delaware Place Senior Apartments, LLC; Riverview Bluffs Associates, LP;
MV/ALG Sandhurst Limited; Scioto Woods II, LLC; Mercy Siena Village Limited
Partnership; Western Center Reserve, LLC; St. Rita’s Senior Housing, LLC; The
Enclave at Winston-Salem, LLC; MV/ALG Steele Creek Limited; Steele Creek
Apartments Limited Partnership; MV/ALG Twin Cedars Limited; Twin Cedars
Limited Partnership; Twin Lakes Senior Villas Limited Partnership; Villas at Twin
Cedars, LLC; Weatherwood Place Limited Partnership; Perrysburg Apartment
Investment LLC; Whitehouse Square Senior Village, LLC; and MV/ALG Windsor
Place Limited (hereafter “Defendants”) are associated with the design and
construction of the Subject Properties. See Appendix A.

Defendants deny the allegations asserted in the Complaint, including but not limited
to the allegation in the Complaint that any of the Subject Properties or other
properties affected or referenced in the Complaint or this Consent Order (collectively,
“Defendant Properties”) are not in compliance with the FHA, ADA, or any other
applicable local, state, or federal code, rule, or regulation pertaining to accessibility
(the “Accessibility Requirements”), and Defendants further deny any assertion that
they intentionally or otherwise failed to comply with such Accessibility Requirements
in their ownership, design, development, and/or construction of such Defendant
Properties.

B.      Relevant Requirements of the Fair Housing Act

       3.     The FHA provides that, for residential buildings with an elevator
consisting of four or more dwelling units, all units that are designed and constructed
for first occupancy after March 13, 1991, are “covered multifamily dwellings” and
must include certain basic features of accessible and adaptive design to make such
units accessible to or adaptable for use by a person who has or develops a disability.
42 U.S.C. §§ 3604(f)(3)(C) and (f)(7)(A).

        4.   The FHA provides that, for non-elevator residential buildings with four
or more dwelling units, all ground-floor units that are designed and constructed for
first occupancy after March 13, 1991, are “covered multifamily dwellings” and must



                                           4
     Case: 1:19-cv-00346-DRC Doc #: 49 Filed: 08/27/20 Page: 5 of 63 PAGEID #: 476




include certain basic features of accessible and adaptive design to make such units
accessible to or adaptable for use by a person who has or develops a disability. 42
U.S.C. §§ 3604(f)(3)(C) and (f)(7)(B).

        5.    The accessible and adaptive design provisions of the FHA require that
for covered multifamily dwellings: (i) the public use and common use portions of such
dwellings are readily accessible to and usable by persons with a disability; (ii) all the
doors designed to allow passage into and within all premises within such dwellings
are sufficiently wide to allow passage by persons with a disability using wheelchairs;
(iii) all premises within such dwellings contain the following features of adaptive
design: (I) an accessible route into and through the dwelling; (II) light switches,
electrical outlets, thermostats, and other environmental controls in accessible
locations; (III) reinforcements in bathroom walls to allow later installation of grab
bars; and (IV) usable kitchens and bathrooms such that an individual using a
wheelchair can maneuver about the space. 42 U.S.C. § 3604(f)(3)(C). These features
are referred to herein as the “Accessible Design Requirements.”

       6.    For the purposes of this Order, the parties agree that the Subject
Properties were designed and constructed for first occupancy after March 13, 1991,
and therefore all the units in buildings with elevators and the ground-floor units in
non-elevator buildings at the Subject Properties are “covered multifamily dwellings”
within the meaning of the FHA, 42 U.S.C. §§ 3604(f)(7)(A) and (B). As such, those
units and the public and common use areas including the accessible pedestrian routes
at the Subject Properties must comply with the Accessible Design Requirements of
42 U.S.C. § 3604(f)(3)(C).

C.      Relevant Requirements of the Americans with Disabilities Act

       7.     The ADA, and the ADA Standards for Accessible Design, ADA
Accessibility Guidelines for Buildings and Facilities, 28 C.F.R. pt. 36, app. A (“ADA
Standards”), that have been issued by the U.S. Department of Justice to implement
the design and construction requirements of Title III of the ADA, also require that all
“public accommodations” designed and constructed for first occupancy after January
26, 1993, and the goods, services, facilities, privileges, advantages, or
accommodations of those public accommodations, be readily accessible to and usable
by persons with disabilities in accordance with certain accessibility standards
promulgated under that Act. 42 U.S.C. §§ 12182(a) and 12183(a)(1). A rental or sales
office for an apartment, condominium, or patio home complex is a “public
accommodation” under the ADA. 42 U.S.C. § 12181(7)(E).

       8.     For the purposes of this Order, the parties agree that the rental offices
for the Subject Properties, with the exception of Bent Tree Apartments II; Indian
Trace II; Lofts at One West High Street; Meadow View South; Scioto Woods I; Stone
Creek Apartments; The Landings at Steele Creek I; and Twin Cedars I, were designed



                                           5
     Case: 1:19-cv-00346-DRC Doc #: 49 Filed: 08/27/20 Page: 6 of 63 PAGEID #: 477




and constructed for first occupancy after January 26, 1993, and therefore the rental
offices and the facilities and privileges provided at those offices such as public parking
are required to be designed and constructed in accordance with the standards
promulgated under the ADA.

D.      Relevant Requirements of the Rehabilitation Act of 1974

       9.     The Rehabilitation Act of 1973, 29 U.S.C. § 794, as amended, requires
that federally owned and federally assisted properties be accessible to qualified
persons with a disability. Specifically, regulations adopted by the United States
Department of Agriculture (“USDA”) and the United States Department of Housing
and Urban Development (“HUD”) require certain newly constructed multifamily
housing projects to include features of accessibility for mobility impaired individuals
in five percent of the total number of units in the project. 2 The Uniform Federal
Accessibility Standards (“UFAS”) are the technical standards adopted by the USDA
and HUD for implementing the accessibility requirements under the Rehabilitation
Act. HUD also allows the use of the 2010 ADA Standards for Accessible Design (“2010
ADA Standards”) as an alternative technical standard to UFAS that may be used for
HUD-funded projects covered by the Rehabilitation Act.

E.      Subject Properties

        10.    The 82 properties discussed below comprise the Subject Properties.

       11.     Allegheny Pointe is located at 662 Cedar Ridge Drive, Apollo, PA. It is
an apartment rental property with 20 single-level, two-unit buildings and three
single-level, four-unit buildings. It has a playground and a community building with
a leasing office, bathrooms, a community room, a kitchenette, a computer room, and
a laundry room. It was constructed for first occupancy in 2010. Allegheny Pointe was
developed using Low-Income Housing Tax Credits, HOME funds, and loans from the
USDA’s Section 515 Program.

2  To support the building of affordable housing, HUD provides grants under the HOME
Investment Partnership Program and the USDA provides loans and loan guarantees through
the Rural Rental Housing Loans Section 515 Program and the Rural Housing Service’s
Section 538 Guaranteed Housing Program. Subject Properties that received HOME funding
or USDA loan funding or guarantees shall be surveyed to identify violations of UFAS, in
addition to the FHA and ADA. These properties are: Allegheny Pointe; Carriage Trails Senior
Villas; Cedar Wood Apartments; Faith Community Housing; Harmony Senior Village; Lake
Towne Senior; Mallard Glen; Meadow Creek Apartments; Oak Ridge Apartments; Oak Wood
Apartments; Pheasant Run Senior; Pine Ridge; Quail Run Apartments; Reserve at Oak
Spring; Riverview Bluffs; Scioto Woods I; Scioto Woods II; Siena Village Senior Living;
Silversage Pointe at Western Center; Sycamore Creek Apartments; Whitehouse Square
Senior Villas; The Enclave at Winston-Salem; Summit Pointe; Walkers Ridge Apartments;
and Walnut Run Senior Villas.



                                            6
  Case: 1:19-cv-00346-DRC Doc #: 49 Filed: 08/27/20 Page: 7 of 63 PAGEID #: 478




        12.    Aspen Grove Apartments is located at 1925 Aaron Drive, Middletown,
OH. It is an apartment rental property with seven three-level, 12-unit buildings. It
has 84 total units, 21 of which are FHA-covered ground-level units. It has a leasing
office, common laundry facilities and mail areas, a playground, and trash dumpster
facilities. It was constructed for first occupancy in 1997. Aspen Grove Apartments
was developed using Low-Income Housing Tax Credits.

        13.    Breckenridge Apartments is located at 2070 Breckenridge Road,
Findlay, OH. It is an apartment rental property with six three-level, 12-unit
buildings. It has 72 total units, 24 of which are FHA-covered ground-level units. It
has a leasing office, common laundry facilities and mail areas, and trash dumpster
facilities. It was constructed for first occupancy in 1998. Breckenridge Apartments
was developed using Low-Income Housing Tax Credits.

       14.    Bent Tree Apartments I is located at 1240 Garbry Road, Piqua, OH. It
is an apartment rental property with seven three-level, 12-unit buildings. It has 84
total units, 28 of which are FHA-covered ground-level units. It has a leasing office,
common laundry facilities and mail areas, and trash dumpster facilities. It was
constructed for first occupancy in 1997. Bent Tree Apartments I was developed using
Low-Income Housing Tax Credits.

        15.  Bent Tree Apartments II is located at 1240 Garbry Road, Piqua, OH. It
is an apartment rental property with two three-level, 12-unit buildings. It has 24
total units, eight of which are FHA-covered ground-level units. It has common
laundry facilities and mail areas and trash dumpster facilities. It was constructed for
first occupancy in 1999.

       16.    Bridge Street Landing is located at 1920 North Bridge Street,
Chillicothe, OH. It is an apartment rental property with seven three-level, 12-unit
buildings. It has 84 total units, 28 of which are FHA-covered ground-level units. It
has a leasing office, common laundry facilities and mail areas, a playground, and
trash dumpster facilities. It was constructed for first occupancy in 2000. Bridge Street
Landing was developed using Low-Income Housing Tax Credits.

        17.    Brookdale Trillium Crossing (formerly known as Trillium Place) is
located at 3500 Trillium Crossing, Columbus, OH. It is an apartment rental property
with one five-level, 68-unit elevator building and one five-level, 150-unit elevator
building. It has 218 total units, all of which are FHA-covered units. It has a leasing
office, a pool, a beauty salon, a general store, a mail room, an activity room, a library,
a multi-purpose room, a billiards room, an exercise room, a common living room and
dining room, trash chutes, common laundry facilities, and common bathrooms. It was
constructed for first occupancy in 2000.




                                            7
  Case: 1:19-cv-00346-DRC Doc #: 49 Filed: 08/27/20 Page: 8 of 63 PAGEID #: 479




       18.    Brookstone Apartments is located at 500 Gunntown Road,
Bellefontaine, OH. It is an apartment rental property with eight three-level, 12-unit
buildings. It has 96 total units, 32 of which are FHA-covered ground-level units. It
has a leasing office, common laundry facilities and mail areas, a playground, and
trash dumpster facilities. It was constructed for first occupancy in 2000. Brookstone
Apartments was developed using Low-Income Housing Tax Credits.

       19.   Carriage Trails Senior Villas is located at 1000 Waterside Circle, Huber
Heights, OH. It is an apartment rental property with three single-level, eight-unit
buildings, one single-level, six-unit building, and one single-level, four-unit building.
It has 34 total units, all of which are FHA-covered ground-level units. It has a
clubhouse with a leasing office, a community room, a kitchenette, a laundry room, a
mail room and bathrooms, a picnic pavilion, a community garden, a fishing pond, and
a walking trail. It was constructed for first occupancy in 2012. Carriage Trails Senior
Villas was developed using Low-Income Housing Tax Credits and HOME funds.

        20.   Cedar Trail is located at 1832 Surrey Trail, Bellebrook, OH. It is an
apartment rental property with eleven three-level, 12-unit buildings. Cedar Trail has
132 total units, 44 of which are FHA-covered ground-level units. It has a leasing
office, a gazebo, a playground, picnic areas, and trash dumpster facilities. It was
constructed for first occupancy in 1996. Cedar Trail was developed using Low-Income
Housing Tax Credits.

        21.     Cedar Wood Apartments is located at 478 East Cook Road, Mansfield,
OH. It is an apartment rental property with eight three-level, 12-unit buildings. It
has 96 total units, 32 of which are FHA-covered ground-level units. It has a leasing
office, common laundry facilities and mail areas, a playground, and trash dumpster
facilities. It was constructed for first occupancy in 2000. Cedar Wood Apartments was
developed using Low-Income Housing Tax Credits and HOME funds.

       22.   Cobblegate Square Apartments is located at 2686 Cobble Circle,
Moraine, OH. It is an apartment rental property with eleven three-level, 12-unit
buildings. Cobblegate Square Apartments has 132 total units, 44 of which are FHA-
covered ground-level units. It has a leasing office, common laundry facilities and mail
areas, a playground, pet litter stations, a grill area, and trash dumpster facilities. It
was constructed for first occupancy in 1997. Cobblegate Square Apartments was
developed using Low-Income Housing Tax Credits.

       23.    Deerfield Crossing is located at 1111 Deerfield Road, Lebanon, OH. It is
an apartment rental property with eight three-level, 12-unit buildings. It has 96 total
units, 32 of which are FHA-covered ground-level units. It has a welcome center with
a leasing office and a bathroom, common laundry facilities and mail areas, and trash
dumpster facilities. It was constructed for first occupancy in 2001.




                                           8
  Case: 1:19-cv-00346-DRC Doc #: 49 Filed: 08/27/20 Page: 9 of 63 PAGEID #: 480




      24.    Eagles Point Apartments is located at 815 Morningside Drive, Kenton,
OH. It is an apartment rental property with six three-level, 12-unit buildings. It has
72 total units, 24 of which are FHA-covered ground-level units. It has a welcome
center with a leasing office and a bathroom, common laundry facilities and mail
areas, a playground, and trash dumpster facilities. It was constructed for first
occupancy in 1999. Eagles Point Apartments was developed using Low-Income
Housing Tax Credits.

       25.    Fairway Breeze Apartments is located at 600 South Country Club Road,
El Reno, OK. It is an apartment rental property with four three-level, 12-unit
buildings. It has a playground, trash dumpster facilities, and a clubhouse with a
leasing office, a multi-purpose room, a kitchenette, a bathroom, a fitness center, and
a laundry room. It was constructed for first occupancy in 2014. Fairway Breeze
Apartments was developed using Low-Income Housing Tax Credits.

       26.    Faith Community Housing is located at 1000 Dove Lane, Crestline, OH.
It is an apartment rental property with five single-level, four-unit buildings, one
single-level, six-unit building, and three single-level, five-unit buildings. It has 41
total units, all of which are FHA-covered ground-level units. It has a welcome center
with a leasing office, a community room, a kitchenette, an exercise room, a mail area,
and bathrooms. It was constructed for first occupancy in 2008. Faith Community
Housing was developed using Low-Income Housing Tax Credits, HOME funds and
loans from the USDA’s Rural Development Program.

       27.   Fox Run is located at 261 Fieldstone Drive, Trotwood, OH. It is an
apartment rental property with 12 three-level, 12-unit buildings. It has 144 total
units, 48 of which are FHA-covered ground-level units. It has a leasing office and
common laundry facilities. It was constructed for first occupancy in 1998. Fox Run
was developed using Low-Income Housing Tax Credits.

       28.    Galena Estates is located at 1910 East Village Circle, Galena, KS. It is
an apartment rental property with two two-level, eight-unit buildings and one three-
level 24-unit building. It has 40 total units, 16 of which are FHA-covered ground-level
units. It has a playground, trash dumpster facilities, and a community building with
a leasing office, a community room, a kitchen, a computer lab, bathrooms, a mail
center, and a fitness center. It was constructed for first occupancy in 2016. Galena
Estates was developed using Low-Income Housing Tax Credits.

       29.  Gallatin Park Apartments is located at 271 Albert Gallatin Avenue,
Gallatin, TN. It is an apartment rental property with two three-level, 12-unit
buildings and one three-level 24-unit building. It has 48 total units, 16 of which are
FHA-covered ground-level units. It has a playground, trash dumpster facilities, and
a community building with a leasing office, a multi-purpose room, a kitchen,
bathrooms, an exercise room, a laundry room, and a mail area. It was constructed for



                                          9
 Case: 1:19-cv-00346-DRC Doc #: 49 Filed: 08/27/20 Page: 10 of 63 PAGEID #: 481




first occupancy in 2012. Gallatin Park Apartments was developed using Low-Income
Housing Tax Credits.

       30.    Glen Arbors Apartments is located at 2400 Glen Arbors Drive,
Napoleon, OH. It is an apartment rental property with six three-level, 12-unit
buildings. It has 72 total units, 24 of which are FHA-covered ground-level units. It
has a leasing office, common laundry facilities and mail areas, a playground, and
trash dumpster facilities. It was constructed for first occupancy in 1999. Glen Arbors
Apartments was developed using Low-Income Housing Tax Credits.

       31.    Hampshire Landing is located at 2021 Hampshire Terrace, Joplin, MO.
It is an apartment rental property with three three-level, 24-unit buildings and one
three-level, 12-unit building. It has 84 total units, 28 of which are FHA-covered
ground-level units. It has a playground, trash dumpster facilities, and a clubhouse
with a leasing office, a community room, a kitchen, a library, a fitness center, a
computer lab, a laundry room, a mail room, and bathrooms. It was constructed for
first occupancy in 2013. Hampshire Landing was developed using Low-Income
Housing Tax Credits.

      32.    Harbour Cove Apartments is located at 500 Anchor Drive, Cincinnati,
OH. It is an apartment rental property with five three-level, 12-unit buildings and
one two-level six-unit townhome building. It has 66 total units, 20 of which are FHA-
covered ground-level units. It has a welcome center with a leasing office and
bathrooms, common laundry facilities and mail areas, and trash dumpster facilities.
It was constructed for first occupancy in 1996. Harbour Cove Apartments was
developed using Low-Income Housing Tax Credits.

        33.   Harmony Senior Village is located at 175 N. 8th Street, Williamsburg,
OH. It is an apartment rental property with one single-level, seven-unit building,
three single-level, six-unit buildings, and one single-level, five-unit building. It has
30 total units, all of which are FHA-covered ground-level units. It has trash dumpster
facilities and a welcome center with a leasing office, a community room, bathrooms,
and a mail center. It was constructed for first occupancy in 2007. Harmony Senior
Village was developed using Low-Income Housing Tax Credits, HOME funds and
loans from the USDA’s Rural Housing Service Section 538 Guaranteed Housing
Program.

        34.   Holly Hills Apartments is located at 700 Holly Hills Drive, Jackson, OH.
It is an apartment rental property with six three-level, 12-unit buildings. It has 72
total units, 24 of which are FHA-covered ground-level units. It has a welcome center
with a leasing office, a bathroom, a meeting area, a computer area, common laundry
facilities and mail areas, and trash dumpster facilities. It was constructed for first
occupancy in 2001. Holly Hills Apartments was developed using Low-Income Housing
Tax Credits.



                                          10
 Case: 1:19-cv-00346-DRC Doc #: 49 Filed: 08/27/20 Page: 11 of 63 PAGEID #: 482




      35.    Honey Creek is located at 1786 Honey Lane, Greenwood, IN. It is an
apartment rental property with ten three-level, 12-unit buildings. Honey Creek has
120 total units, 40 of which are FHA-covered ground-level units. It has trash
dumpster facilities and a welcome center with a leasing office, a laundry room and a
bathroom. It was constructed for first occupancy in 2002.

       36.  Hoover Place is located at 5407 Hoover Avenue, Dayton, OH. It is an
apartment rental property with one three-level, 144-unit elevator building. Hoover
Place has 144 total units, all of which are FHA-covered units. It has a leasing office,
a common dining and living room, a coffee shop, common bathrooms, lounges, an
activity room, common storage and laundry facilities, a mail center, and a
beauty/barber shop. It was constructed for first occupancy in 1999. Hoover Place was
developed using Low-Income Housing Tax Credits.

       37.   Hunter’s Oak Apartments is located at 1199 East Russ Road, Greenville,
OH. It is an apartment rental property with six three-level, 12-unit buildings. It has
72 total units, 24 of which are FHA-covered ground-level units. It has a welcome
center with a leasing office and a bathroom, common laundry facilities and mail
areas, and trash dumpster facilities. It was constructed for first occupancy in 1998.
Hunter’s Oak Apartments was developed using Low-Income Housing Tax Credits.

        38.     Indian Trace I is located at 5081 Red Cloud Court, Oxford, OH. It is an
apartment rental property with seven three-level, 12-unit buildings. It has 84 total
units, 28 of which are FHA-covered ground-level units. It has a leasing office, common
laundry facilities and mail areas, pet litter stations, a grill area, and trash dumpster
facilities. It was constructed for first occupancy in 1998. Indian Trace I was developed
using Low-Income Housing Tax Credits.

       39.   Indian Trace II is located at 5081 Red Cloud Court, Oxford, OH. It is an
apartment rental property with six three-level, 12-unit buildings and one two-level
four-unit building with two-story units. It has 76 total units, 24 of which are FHA-
covered ground-level units. It has common laundry facilities and mail areas, pet litter
stations, and trash dumpster facilities. It was constructed for first occupancy in 1999.

       40.    Lake Towne Senior is located at 4975 Lake Towne Drive, Walbridge,
OH. It is an apartment rental property with one single-level, eight-unit building, one
single-level, five-unit building, and five single-level, 6-unit buildings. Lake Towne
Senior has 43 total units, all of which are FHA-covered ground-level units. It has
trash dumpster facilities and a welcome center with a leasing office, a community
room, a kitchenette bathrooms, and a mail center. It was constructed for first
occupancy in 2008. Lake Towne Senior was developed using Low-Income Housing
Tax Credits, HOME funds and loans from the USDA’s Rural Development Program.




                                          11
 Case: 1:19-cv-00346-DRC Doc #: 49 Filed: 08/27/20 Page: 12 of 63 PAGEID #: 483




        41.   Lofts at Hoover is located at 5348 Joshua Trail, Dayton, OH. It is an
apartment rental property with ten single-level, 4-unit buildings. It has 40 total
units, all of which are FHA-covered ground-level units. It has trash dumpster
facilities and a welcome center with a leasing office, a mail center, a community room,
a kitchen, and bathrooms. It was constructed for first occupancy in 2007. Lofts at
Hoover was developed using Low-Income Housing Tax Credits.

       42.    Lofts at One West High Street is located at 1 West High Street, Oxford,
OH. It is an apartment rental property with one four-level, 11-unit elevator building.
It has 11 total units, all of which are FHA-covered units. It was constructed for first
occupancy in 2009.

       43.   Lyons Place I is located at 1300 Genesis Way, Dayton, OH. It is an
apartment rental property with one three-level, 61-unit elevator building. Lyons
Place I has 61 total units, all of which are FHA-covered units. It has a leasing office,
a multi-purpose room, common bathrooms, common storage and laundry facilities, a
mail area, a vending area, an arts and crafts room, a reading loft and a patio. It was
constructed for first occupancy in 2010. Lyons Place I was developed using Low-
Income Housing Tax Credits.

      44.    Lyons Place II is located at 4100 West Third Street, Dayton, OH. It is
an apartment rental property with one three-level, 55-unit elevator building. It has
55 total units, all of which are FHA-covered units. It has a leasing office, a multi-
purpose room, common bathrooms, common storage and laundry facilities, a mail
area, a vending area, a recreation/media room, a reading loft, and a patio. It was
constructed for first occupancy in 2015.

        45.   Madison Place Senior is located at 4200 Forbes Road, Gastonia, NC. It
is an apartment rental property with one three-level, 76-unit elevator building. It has
76 total units, all of which are FHA-covered units. It has a leasing office, a community
room, a common kitchen and living room, common bathrooms, common storage and
laundry facilities, trash rooms, a fitness center, a mail area, an arts and crafts room,
a billiards room, a library, a hair salon, a patio, a picnic area, a walking trail, and a
gazebo. It was constructed for first occupancy in 2003. Madison Place Senior was
developed using Low-Income Housing Tax Credits.

        46.     Mallard Glen is located at 21 Lori Lane, Amelia, OH. It is an apartment
rental property with eight three-level, 12-unit buildings. It has 96 total units, 32 of
which are FHA-covered ground-level units. It has a welcome center with a leasing
office and a bathroom, common laundry facilities and mail areas, and trash dumpster
facilities. It was constructed for first occupancy in 2001. Mallard Glen was developed
using Low-Income Housing Tax Credits and HOME funds.




                                           12
 Case: 1:19-cv-00346-DRC Doc #: 49 Filed: 08/27/20 Page: 13 of 63 PAGEID #: 484




       47.    Mallard Landing is located at 1205 Lake Boulevard, Marion, OH. It is
an apartment rental property with eight three-level, 12-unit buildings. It has 96 total
units, 32 of which are FHA-covered ground-level units. It has a welcome center with
a leasing office and a bathroom, common laundry facilities and mail areas, and trash
dumpster facilities. It was constructed for first occupancy in 2001.

       48.    Meadow Creek Apartments is located at 1700-A East High Street,
Bryan, OH. It is an apartment rental property with eight three-level, 12-unit
buildings. It has 96 total units, 32 of which are FHA-covered ground-level units. It
has a welcome center with a leasing office, a computer room, a bathroom, common
laundry facilities and mail areas, a playground, and trash dumpster facilities. It was
constructed for first occupancy in 2000. Meadow Creek Apartments was developed
using Low-Income Housing Tax Credits and HOME funds.

       49.   Meadow View South (formerly known as Timber Creek Apartments) is
located at 45 Clearcreek Road, Springboro, OH. It is an apartment rental property
with five three-level, 12-unit buildings. It has 60 total units, 20 of which are FHA-
covered ground-level units. It has common laundry facilities and mail areas, a pool,
a playground, and trash dumpster facilities. It was constructed for first occupancy in
1996. It was developed using Low-Income Housing Tax Credits.

        50.    Meadow Vista Senior Villas is located at 1806 28th Avenue SW, Altoona,
IA. It is an apartment rental property with seven single-level, six-unit buildings and
two single-level, four-unit buildings. It has 50 total units, all of which are FHA-
covered ground-level units. It has a gazebo, a picnic area, a community garden, a
walking trail, and a clubhouse with a leasing office, a mail room, a community room,
a kitchenette, bathrooms, a laundry room and a computer center. It was constructed
for first occupancy in 2012. It was developed using Low-Income Housing Tax Credits.

       51.    Mill Pond is located at 5310 West Keller Road, Muncie, IN. It is an
apartment rental property with ten three-level, 12-unit buildings. It has 120 total
units, 40 of which are FHA-covered ground-level units. It has a welcome center with
a leasing office and a bathroom, common laundry facilities and mail areas, and trash
dumpster facilities. It was constructed for first occupancy in 2000.

        52.  Oak Ridge Apartments is located at 339 10th Street, Nolanville, TX. It
is an apartment rental property with two three-level, 24-unit buildings. It has 48
total units, 16 of which are FHA-covered ground-level units. It has a pool, a
playground, trash dumpster facilities, and a clubhouse with a leasing office, a fitness
room, an activity room, a kitchen, bathrooms, and a mail area. It was constructed for
first occupancy in 2015. It was developed using Low-Income Housing Tax Credits and
HOME funds.




                                          13
 Case: 1:19-cv-00346-DRC Doc #: 49 Filed: 08/27/20 Page: 14 of 63 PAGEID #: 485




        53.   Oak Wood Apartments is located at 335 Castor Road, Lexington, OH. It
is an apartment rental property with seven three-level, 12-unit buildings. It has 84
total units, 28 of which are FHA-covered ground-level units. It has a leasing office,
common laundry facilities and mail areas, and a playground. It was constructed for
first occupancy in 2000. It was developed using Low-Income Housing Tax Credits and
HOME funds.

      54.     Pheasant Run Senior is located at 2920 Old Troy Pike, Dayton OH. It is
an apartment rental property with one three-level, 75-unit elevator building.
Pheasant Run Senior has 75 total units, all of which are FHA-covered units. It has a
leasing office, common bathrooms, a community room, an activity room, common
laundry and storage facilities, trash chutes, a common living room and kitchen, a
beauty shop, a mail center, a library, and a patio. It was constructed for first
occupancy in 2004. It was developed using Low-Income Housing Tax Credits and
HOME funds.

       55.    Pine Ridge is located at 33520 Pine Ridge Drive, Logan, OH. It is an
apartment rental property with six three-level, 12-unit buildings. Pine Ridge has 72
total units, 24 of which are FHA-covered ground-level units. It has a playground,
trash dumpster facilities, and a welcome center with a leasing office, a bathroom, a
computer room, and a mail area. It was constructed for first occupancy in 2006. It
was developed using Low-Income Housing Tax Credits and HOME funds.

        56.  Pinecrest Apartments is located at 3605 Martins Trail Circle,
Walkertown, NC. It is an apartment rental property with ten two-level, eight-unit
buildings. Pinecrest Apartments has 80 total units, 40 of which are FHA-covered
ground-level units. It has a playground, a volleyball court, a horseshoe pit, a picnic
area, a gazebo, trash dumpster facilities, and a community building with a leasing
office, a TV area, a kitchenette, a conference area, a sitting area, bathrooms, a
computer room, a laundry room and a mail area. It was constructed for first
occupancy in 2007. It was developed using Low-Income Housing Tax Credits.

      57.    Quail Run Apartments is located at 641 North Franklin Street, Van
Wert, OH. It is an apartment rental property with five three-level, 12-unit buildings.
It has 60 total units, 20 of which are FHA-covered ground-level units. It has a
welcome center with a leasing office and a bathroom, common laundry facilities and
mail areas, a playground, and trash dumpster facilities. It was constructed for first
occupancy in 1998. It was developed using Low-Income Housing Tax Credits and
HOME funds.

        58.   Queen Esther’s Village is located at 415 17th Street SE, Canton, OH. It
is an apartment rental property with four single-level, four-unit buildings, one single-
level, five-unit building, and two single-level, six-unit buildings. It has 33 total units,
all of which are FHA-covered ground-level units. It has a welcome center with a



                                            14
 Case: 1:19-cv-00346-DRC Doc #: 49 Filed: 08/27/20 Page: 15 of 63 PAGEID #: 486




leasing office, bathrooms, a mail center, a community room, and a kitchenette. It was
constructed for first occupancy in 2008. It was developed using Low-Income Housing
Tax Credits.

      59.    Reserve at Oak Spring is located at 100 Oak Springs Court, Clarksburg,
WV. It is an apartment rental property with two buildings with four two-level units
each, two single-level two-unit buildings, one single-level, five-unit building, and
three buildings with six two-level units each. It has 35 total units, five of which are
FHA-covered ground-level units. It has a playground, trash dumpster facilities, and
a community building with a leasing office, a fitness room, a community room, a
kitchenette, bathrooms, a laundry room and a mail room. It was constructed for first
occupancy in 2016. It was developed using Low-Income Housing Tax Credits and
HOME funds.

        60.    Reserve at Spencer is located at 8400 NE 36th Street, Spencer, OK. It is
an apartment rental property with two three-level, 24-unit buildings and one single-
level six-unit building. It has 54 total units, 22 of which are FHA-covered ground-
level units. It has a playground, a gazebo, a picnic area, trash dumpster facilities, and
a clubhouse with a leasing office, a fitness center, a computer center, a multi-purpose
room, a kitchen, a laundry room, bathrooms and a mail room. It was constructed for
first occupancy in 2015. It was developed using Low-Income Housing Tax Credits.

       61.   River Crossing is located at 8030 Sycamore Creek Drive, Charlotte, NC.
It is an apartment rental property with eleven three-level, 12-unit buildings. It has
132 total units, 24 of which are FHA-covered ground-level units. It has a welcome
center with a leasing office, a bathroom, a laundry room, a mail center, and trash
dumpster facilities. It was constructed for first occupancy in 2002.

        62.    Riverside Landing at Delaware Place is located at 351 Sandusky Street,
Delaware, OH. It is an apartment rental property with one four-level, 49-unit
elevator building and seven single-level, two-unit buildings. Riverside Landing at
Delaware Place has 63 total units, 49 of which are FHA-covered units. It has a picnic
pavilion, walking trails, and trash dumpster facilities, and the elevator building
contains a leasing office, common bathrooms, lounges, trash rooms, common laundry
facilities, a common dining/activity room and kitchen, a fitness center, a conference
room, a computer room, a storage room, a mail center and a multipurpose room. It
was constructed for first occupancy in 2013. It was developed using Low-Income
Housing Tax Credits.

       63.    Riverview Bluffs is located at 104 River Valley Boulevard, New
Richmond, OH. It is an apartment rental property with six single-level, six-unit
buildings. Riverview Bluffs has 36 total units, all of which are FHA-covered ground-
level units. It has a clubhouse with a leasing office, bathrooms, laundry facilities, a
community room, a computer room, and a mail center. It was constructed for first



                                           15
 Case: 1:19-cv-00346-DRC Doc #: 49 Filed: 08/27/20 Page: 16 of 63 PAGEID #: 487




occupancy in 2007. It was developed using Low-Income Housing Tax Credits, HOME
funds, and loans from the Section 538 Program.

       64.    Sandhurst is located at 3139 Sandhurst Drive, Zanesville, OH. It is an
apartment rental property with ten three-level, 12-unit buildings. It has 120 total
units, 40 of which are FHA-covered ground-level units. It has a welcome center with
a leasing office, a bathroom, a computer area, common laundry facilities, and mail
areas. It was constructed for first occupancy in 2002.

        65.  Scioto Woods I is located at 2097 Western Avenue, Chillicothe, OH. It is
an apartment rental property with six three-level, 12-unit buildings. It has 72 total
units, 24 of which are FHA-covered ground-level units. It has common laundry
facilities and mail areas, a playground, and trash dumpster facilities. It was
constructed for first occupancy in 1998. It was developed using Low-Income Housing
Tax Credits and HOME funds.

        66.   Scioto Woods II is located at 2097 Western Avenue, Chillicothe, OH. It
is an apartment rental property with seven three-level, 12-unit buildings. It has 84
total units, 28 of which are FHA-covered ground-level units. It has a welcome center
with a leasing office, a bathroom, a laundry room and a mail area. It was constructed
for first occupancy in 2004. It was developed using Low-Income Housing Tax Credits
and HOME funds.

      67.     Siena Village Senior Living is located at 6045 North Main Street,
Dayton, OH. It is an apartment rental property with one three-level, 108-unit
elevator building. It has 108 total units, all of which are FHA-covered units. It has a
leasing office, common bathrooms, common storage and laundry facilities, an activity
room, a beauty shop, a TV lounge, a common dining room and kitchen, an exercise
room, a billiard room, a chapel and a mail center. It was constructed for first
occupancy in 1997. It was developed using Low-Income Housing Tax Credits and
HOME funds.

       68.    Silversage Point at Western Center is located at 1800 Western Center
Boulevard, Fort Worth, TX. It is an apartment rental property with four three-level,
24-unit buildings and two three-level, 12-unit buildings. It has 120 total units, 40 of
which are FHA-covered ground-level units. It has a pool, a playground, a gazebo, a
picnic area, trash dumpster facilities, and a clubhouse with a leasing office, a kitchen,
bathrooms, a laundry room, an activity room, a fitness room and a mail center. It was
constructed for first occupancy in 2014. It was developed using Low-Income Housing
Tax Credits and HOME funds.

      69.     St. Bernard Commons is located at 5007 Greenlee Avenue, St. Bernard,
OH. It is an apartment rental property with one three-level, 42-unit elevator building.
It has 42 total units, all of which are FHA-covered units. It has a leasing office,



                                           16
 Case: 1:19-cv-00346-DRC Doc #: 49 Filed: 08/27/20 Page: 17 of 63 PAGEID #: 488




common bathrooms, common storage facilities, laundry facilities, trash rooms, an
activity room, a community room, a mail area, and a sitting room. It was constructed
for first occupancy in 2013. It was developed using Low-Income Housing Tax Credits.

        70.   St. Rita’s Senior Housing is located at 10614 Granger Road, Garfield
Heights, OH. It is an apartment rental property with one three-level, 63-unit elevator
building. It has 63 total units, all of which are FHA-covered units. It has a leasing
office, common bathrooms, activity rooms, common laundry facilities, trash rooms, a
community room, a common kitchen, an activity room, a library, a mail room, a
computer room, and a conference room. It was constructed for first occupancy in 2009.
It was developed using Low-Income Housing Tax Credits.

        71.   Stone Creek Apartments is located at 2686 Cobble Circle, Moraine, OH.
It is an apartment rental property with eleven three-level, 12-unit buildings. It has
132 total units, 44 of which are FHA-covered ground-level units. It was constructed
for first occupancy in 1997.

       72.    Summit Pointe is located at 203 Deer Run Drive, Lawrenceburg, IN. It
is an apartment rental property with six three-level, 12-unit buildings and one three-
level 11-unit building with a leasing office, a community building with a fitness center
and a bathroom, and a playground. It has 83 total units, 27 of which are FHA-covered
ground-level units. It was constructed for first occupancy in 1995 and certain
renovations were completed in 2012. It was developed using Low-Income Housing
Tax Credits, HOME funds, and loans from the USDA’s Rural Development Program.

        73.   Sycamore Creek Apartments is located at 776 Country Side Lane,
Sidney, OH. It is an apartment rental property with eight three-level, 12-unit
buildings. It has 96 total units, 32 of which are FHA-covered ground-level units. It
has a welcome center with a leasing office, a bathroom, a computer area, common
laundry facilities and mail areas, and trash dumpster facilities. It was constructed
for first occupancy in 2000. It was developed using Low-Income Housing Tax Credits
and HOME funds.

       74.    The Enclave at Winston-Salem is located at 1489 Colony Lodge Street,
Winston-Salem, NC. It is an apartment rental property with 17 two-level, four-unit
buildings. It has 68 total units, 34 of which are FHA-covered ground-level units. It
has a picnic area, a playground, and a community building with a leasing office,
bathrooms, a computer room, a kitchenette, a club room, a laundry room, a fitness
center, and a mail area. It was constructed for first occupancy in 2012. It was
developed using Low-Income Housing Tax Credits and HOME funds.

      75.   The Landings at Steele Creek I is located at 4520 Branch Bend Lane,
Charlotte, NC. It is an apartment rental property with six three-level, 12-unit




                                          17
 Case: 1:19-cv-00346-DRC Doc #: 49 Filed: 08/27/20 Page: 18 of 63 PAGEID #: 489




buildings. It has 72 total units, 24 of which are FHA-covered ground-level units. It
has trash dumpster facilities. It was constructed for first occupancy in 2002.

       76.    The Landings at Steele Creek II is located at 4520 Branch Bend Lane,
Charlotte, NC. It is an apartment rental property with four three-level, 12-unit
buildings. It has 48 total units, 16 of which are FHA-covered ground-level units. It
has a leasing office. It was developed using Low-Income Housing Tax Credits. It was
constructed for first occupancy in 2001.

        77.   Timber Glen II is located at 4486 Timber Glen Drive #8, Batavia, OH. It
is an apartment rental property with six three-level, 12-unit buildings. It has 72 total
units, 24 of which are FHA-covered ground-level units. It has a leasing office, common
laundry facilities, mail areas, and trash dumpster facilities. It was constructed for
first occupancy in 1997.

      78.    Timber Ridge Apartments is located at 2190 Harshman Road, Dayton,
OH. It is an apartment rental property with six three-level, 12-unit buildings. It has
72 total units, 24 of which are FHA-covered ground-level units. It has a welcome
center with a leasing office and a bathroom, common laundry facilities, mail areas,
and trash dumpster facilities. It was constructed for first occupancy in 1997. It was
developed using Low-Income Housing Tax Credits.

      79.    Timberlake Apartments is located at 465 Timberlake Drive, Vandalia,
OH. It is an apartment rental property with 12 three-level, 12-unit buildings. It has
144 total units, 48 of which are FHA-covered ground-level units. It has a welcome
center with a leasing office, a bathroom, a computer area, common laundry facilities,
mail areas, a playground, and trash dumpster facilities. It was constructed for first
occupancy in 2000. It was developed using Low-Income Housing Tax Credits.

        80.   Twin Cedars I is located at 1830 20th Avenue Drive Northeast, Hickory,
NC. It is an apartment rental property with three three-level, 12-unit buildings. It
has 36 total units, 12 of which are FHA-covered ground-level units. It was constructed
for first occupancy in 2002.

        81.    Twin Cedars II is located at 1830 20th Avenue Drive Northeast,
Hickory, NC. It is an apartment rental property with six three-level, 12-unit
buildings. It has 72 total units, 24 of which are FHA-covered ground-level units. It
has a leasing office, a playground, and trash dumpster facilities. It was constructed
for first occupancy in 2001. It was developed using Low-Income Housing Tax Credits.

       82.    Twin Lakes Senior Villas is located at 405 Twin Lakes Drive, Rantoul,
IL. It is an apartment rental property with three single-level, eight-unit buildings,
one single-level, six-unit building, and three single-level, four-unit buildings. It has
42 total units, all of which are FHA-covered ground-level units. It has a picnic



                                          18
 Case: 1:19-cv-00346-DRC Doc #: 49 Filed: 08/27/20 Page: 19 of 63 PAGEID #: 490




pavilion, a walking trail, and a community building with a leasing office, a business
center, a community room, a kitchenette, bathrooms, and a mail center. It was
constructed for first occupancy in 2013. It was developed using Low-Income Housing
Tax Credits.

       83.    Villas at Twin Cedars is located at 1866 20th Avenue Drive Northeast,
Hickory, NC. It is an apartment rental property with three single-level, six-unit
buildings, two single-level, five-unit buildings, and three single-level, four-unit
buildings. It has 40 total units, all of which are FHA-covered ground-level units. It
has a picnic area, a playground, trash dumpster facilities, and a welcome center with
a leasing office, a bathroom, a laundry room, a mail center, and a meeting room. It
was constructed for first occupancy in 2005. It was developed using Low-Income
Housing Tax Credits.

       84.    Walnut Run Senior Villas is located at 105 Sunshine Drive, Cortland,
OH. It is an apartment rental property with four single-level, six-unit buildings and
four single-level, four-unit buildings. It has 40 total units, all of which are FHA-
covered ground-level units. It has a welcome center with a leasing office, a mail
center, bathrooms, a kitchenette, and a community room. It was constructed for first
occupancy in 2008. It was developed using Low-Income Housing Tax Credits and
loans from the Section 538 Program.

       85.   Walkers Ridge Apartments is located at 5000 Walkers Trail,
Greensburg, PA. It is an apartment rental property with three three-level, 20-unit
buildings and one three-level, 24-unit building. It has 84 total units, 32 of which are
FHA-covered ground-level units. It has a playground, trash dumpster facilities, and
a clubhouse with a leasing office, a computer center, laundry facilities, a community
room, a kitchen, bathrooms, and a mail area. It was constructed for first occupancy
in 2008. It was developed using Low-Income Housing Tax Credits and HOME funds.

        86.   Waterbury Apartments is located at 1150 South 14th Street, Decatur,
IN. It is an apartment rental property with seven three-level, 12-unit buildings. It
has 84 total units, 28 of which are FHA-covered ground-level units. It has a welcome
center with a leasing office, a computer area, a meeting area, a bathroom, common
laundry facilities, a playground, and trash dumpster facilities. It was constructed for
first occupancy in 1999. It was developed using Low-Income Housing Tax Credits.

        87.    Waterstone Landing is located at 12315 Roachton Road, Perrysburg,
OH. It is an apartment rental property with twelve three-level, 24-unit buildings.
Waterstone Landing has 288 total units, 96 of which are FHA-covered ground-level
units. It has a pool, a mail center, a dog park, a pergola, grill and picnic areas, trash
dumpster facilities, and a clubhouse with a leasing office, a business center, a fitness
center, a billiards room, a cinema center, and a community room. It was constructed
for first occupancy in 2010.



                                           19
 Case: 1:19-cv-00346-DRC Doc #: 49 Filed: 08/27/20 Page: 20 of 63 PAGEID #: 491




       88.   Weaver Farm Apartments (formerly known as Tamarack Trace) is
located at 1000 Tamarack Circle, Florence, KY. It is an apartment rental property
with 22 three-level, 12-unit buildings. It has 264 total units, 88 of which are FHA-
covered ground-level units. It has a leasing office, common laundry facilities and
trash dumpster facilities. It was constructed for first occupancy in 1997.

       89.    Whitehouse Square Senior Villas is located at 7001 Park View Court,
Whitehouse, OH. It is an apartment rental property with four single-level, eight-unit
buildings. It has 32 total units, all of which are FHA-covered ground-level units. It
has a community garden, a walking trail, a picnic shelter, a grilling area, and a
clubhouse with a leasing office, a computer room, a TV room, a community room, a
kitchenette, bathrooms, and a mail room. It was constructed for first occupancy in
2011. It was developed using Low-Income Housing Tax Credits, HOME funds, and
loans from the USDA’s Rural Development Program.

      90.    Wind Ridge Apartments is located at 599 Wind Ridge Place, Tipp City,
OH. It is an apartment rental property with seven three-level, 12-unit buildings. It
has 84 total units, 28 of which are FHA-covered ground-level units. It has a welcome
center with a leasing office, common laundry facilities, mail areas, and trash
dumpster facilities. It was constructed for first occupancy in 1997. It was developed
using Low-Income Housing Tax Credits.

       91.    Windsor Place is located at 3944 Camberlee Way, Beavercreek, OH. It
is an apartment rental property with six three-level, 12-unit buildings. It has 72 total
units, 24 of which are FHA-covered ground-level units. It has a welcome center with
a leasing office and a bathroom, common laundry facilities, mail areas, and trash
dumpster facilities. It was constructed for first occupancy in 2000.

        92.    Wright Place Apartments is located at 2224 High Wheel Drive, Xenia,
OH. It is an apartment rental property with one three-level, 92-unit elevator building.
It has 92 total units, all of which are FHA-covered units. It has a leasing office,
common bathrooms, common laundry and storage facilities, a common dining room
and living room, an activity room, a mail room, and a beauty salon. It was constructed
for first occupancy in 2004. It was developed using Low-Income Housing Tax Credits.

       93.   Prior to entry of this Consent Order, Defendants had sold or otherwise
relinquished ownership, care, custody and control over some of the Subject
Properties. The following properties remain in one or more Defendants’ ownership,
care, custody or control:

             a.     Allegheny Pointe
             b.     Riverside Landing at Delaware Place
             c.     Galena Estates



                                          20
 Case: 1:19-cv-00346-DRC Doc #: 49 Filed: 08/27/20 Page: 21 of 63 PAGEID #: 492




            d.    Gallatin Park Apartments
            e.    Hampshire Landing
            f.    Madison Place Senior Apartments
            g.    Meadow Vista Senior Villas
            h.    Pinecrest Apartments
            i.    Reserve at Oak Spring
            j.    Reserve at Spencer, LLC
            k.    The Enclave at Winston-Salem
            l.    Twin Lakes Senior Villas
            m.    Oak Ridge Apartments
            n.    Walker’s Ridge
            o.    Silversage Point
            p.    Villas at Twin Cedars
            q.    Harmony Senior Village
            r.    Lake Towne Senior Village
            s.    Riverview Bluffs
            t.    St. Rita's Senior Housing
            u.    Whitehouse Square Senior Village
            v.    Summit Pointe Apartments
            w.    Faith Community Housing
            x.    Meadow Creek Apartments
            y.    The Landings at Steele Creek I
            z.    The Landings at Steele Creek II
            aa.   Carriage Trails Senior Village
            bb.   Mercy Siena Senior Living
            cc.   Honey Creek
            dd.   Deerfield Crossings
            ee.   Mallard Landing
            ff.   Mill Pond
            gg.   Sandhurst
            hh.   Twin Cedars I
            ii.   Twin Cedars II
            jj.   Windsor Place
            kk.   Waterstone Landing
            ll.   Scioto Woods II
            mm.   Indian Trace II
            nn.   Indian Trace I

F.    Consent of the Parties to this Order

      94.    Defendants agree to address alleged deficiencies at the Subject
Properties as required by this Consent Order and in accordance with the terms set
forth in this Consent Order and as required by the separately agreed upon
remediation protocols described herein.



                                       21
 Case: 1:19-cv-00346-DRC Doc #: 49 Filed: 08/27/20 Page: 22 of 63 PAGEID #: 493




      95.    The parties agree that this Court has jurisdiction over the subject
matter of this case under 28 U.S.C. §§ 1331 and 1345, and 42 U.S.C. §§ 3614(a) and
12188(b)(1)(B). The parties further agree that this controversy should be resolved
without further proceedings and without an evidentiary hearing or a trial.

      96.     As indicated by the signatures appearing below, the parties agree to the
entry of this Order.

It is hereby ORDERED, ADJUDGED, and DECREED:

                           II. GENERAL INJUNCTION

      97.    Defendants and each of their officers, employees, agents, successors and
assigns, and all other persons in active concert or participation with them are
enjoined from discriminating on the basis of disability as prohibited by the FHA, 42
U.S.C. §§ 3604(f)(1)–(3), and the ADA, 42 U.S.C. §§ 12182(a) and 12183(a)(1).

       98.   Defendants and each of their officers, employees, agents, successors and
assigns, and all other persons in active concert or participation with them are
enjoined from interfering or preventing the retrofitting ordered herein or the
implementation or completion of this Order. As to the Subject Properties the
Defendants own or control, and to the extent Defendants are able to procure access
to the other Subject Properties no longer owned or controlled by Defendants,
Defendants agree to allow access to the public and common use areas of the Subject
Properties, and, to the extent possible, access to unit interiors at the Subject
Properties, for the purpose of planning, evaluating, and performing any action
required under this Order to perform retrofits to the public and common use areas
and the unit interiors as set forth in the separately agreed upon remediation
protocols, and for the purpose of interviewing or meeting with residents or tenants to
aid in the implementation or completion of this Order.

                 III. SURVEYING OF SUBJECT PROPERTIES

      99.    Subject to the provisions of Paragraph 98, above, and Paragraph 103,
below, Defendants agree to take the following actions with regard to the surveying of
the Subject Properties the Defendants own or control, and to the extent Defendants
are provided access to the other Subject Properties:

      a.     Within sixty (60) days of the entry of this Order, Defendants shall
             contract with one or more qualified professionals, hereinafter the
             “Properties Surveyors,” approved by the United States, to conduct an
             on-site survey in accordance with this Section, and identify elements for
             remediation based upon the separately agreed upon Remediation



                                         22
 Case: 1:19-cv-00346-DRC Doc #: 49 Filed: 08/27/20 Page: 23 of 63 PAGEID #: 494




            Protocol. The Properties Surveyors will have expertise in the Accessible
            Design Requirements of the FHA and the accessibility requirements of
            the FHA Guidelines, the ADA Standards, ANSI A117.1-1986, and
            UFAS.

      b.    All surveys are to be completed within six (6) months of the date of the
            entry of this Order.

      c.    Defendants shall give the United States written notice of the survey at
            least twenty-one (21) days prior to each survey and shall give the United
            States an opportunity to have its representatives present for each
            survey.

      d.    The surveys are to be conducted in accordance with the separately
            agreed upon Remediation Protocol, which shall be provided to the
            Properties Surveyor(s).

      100. The Properties Surveyor(s) will prepare a written Property Survey
Report for each Subject Property surveyed (a “Surveyed Subject Property”). Each
Property Survey Report will comply with the following provisions:

      a.    The Property Survey Report will specify the scope and methodology of
            the survey.

      b.    The Property Survey Report will set forth the elements which the
            Surveyor identifies, based upon the separately agreed upon
            Remediation Protocol, that are to be remediated.

      c.    The Properties Surveyors will take digital photographs of the
            measurements taken of the elements the Surveyor identifies, based
            upon the Remediation Protocol, that are to be remediated. These
            photographs shall be included in the report and made a part of each
            Property Survey Report and made available in electronic digital form as
            an appendix to the Property Survey Report.

      d.    The Properties Surveyor will send the Property Survey Report of each
            Surveyed Subject Property to counsel for the United States and
            Defendants as soon as practicable following each survey, but in any
            event no later than sixty (60) days after the date of the survey.

      e.    Neither the United States nor the Defendants shall disclose the
            Property Survey Reports to any other person, except that Defendants
            may disclose the Property Survey Reports to their respective lenders,
            owners, state housing finance agencies, contractors who make retrofits,



                                        23
 Case: 1:19-cv-00346-DRC Doc #: 49 Filed: 08/27/20 Page: 24 of 63 PAGEID #: 495




              future bona fide purchasers, insurance representatives and carriers, or
              as specifically required by Court order, and that the United States may
              disclose the Property Survey Reports to any agent or consultant retained
              by the United States.

                   IV. RETROFITS AT SUBJECT PROPERTIES

       101. For each Subject Property at which a Properties Surveyor has identified
elements, based upon the Remediation Protocol, that are deemed, under the terms of
this Order, to require remediation, the provisions in Sections IV–VII shall apply. The
financial responsibility for effecting any and all retrofits required under this Order
to the Subject Properties, and the cost of surveys and inspections associated
therewith, shall be solely that of the Defendant(s) identified as responsible for the
specific Subject Property as set forth in Appendix A. 3 Each Defendant represents and
warrants that it has the financial capacity to complete all of the retrofits for which it
has responsibility as set forth in Appendix A pursuant to the terms and timetables
set forth in this Order.

A.     Access to Subject Properties

       102. The Defendants that own, control, or were otherwise associated with the
design or construction of a Subject Property, as reflected on Appendix A, agree to
allow access to the public and common use areas of the Subject Property and access
to the Subject Property covered multifamily dwelling unit interiors, for the purpose
of performing any surveys and subsequent retrofitting required under this Order, and
for the purpose of interviewing or meeting with residents at a Subject Property to aid
in the implementation or completion of this Order.

       103. Where a Subject Property is not owned or controlled by a Defendant,
Defendants identified as responsible for the specific Subject Property as set forth in
Appendix A shall use good faith efforts, including the use of at least two written
notices substantially in the form of Appendix B, to obtain consent to access the public
and common use areas of the Subject Property and access the Subject Property
3 The parties recognize that the construction of certain properties was subsidized by Low-

Income Housing Tax Credits. Such properties are subject to the applicable Section 42
regulations; investor, lender, or third party guarantees and contract requirements; related
land use covenants or requirements; or the associated Land Use Restriction Agreement. While
the parties do not anticipate that these regulations will impact any retrofits required by this
Order, in the event it is discovered that a retrofit may negatively affect the tax credit status
of a property or unit, the parties will meet and confer. If it is determined that the retrofit
would impact tax-credit status, the parties will, in good faith, seek alternative accessibility
modifications to reasonably mitigate the circumstance or other steps for reasonable
accommodation or other accessibility remedies in light of the overall objectives of the Fair
Housing Act and Americans with Disabilities Act.



                                              24
 Case: 1:19-cv-00346-DRC Doc #: 49 Filed: 08/27/20 Page: 25 of 63 PAGEID #: 496




covered multifamily dwelling unit interiors, for the purpose of performing any
surveys and subsequent retrofitting required under this Order, and for the purpose
of interviewing or meeting with residents at a Subject Property to aid in the
implementation or completion of this Order. Defendants shall provide the United
States with copies of the written notices within five (5) days of having sent them. If
Defendants, within three (3) months from the date of this Order, are unable to obtain
access to a Subject Property despite having undertaken the efforts described above,
Defendants shall provide a report to the United States of efforts undertaken and
specific reasons why Defendants have been unable to obtain access. The United
States shall have one (1) year from the date of receiving such report to file appropriate
action or otherwise move the Court for appropriate relief to obtain access to the
properties. Defendants shall join in such motion or action as reasonably required
provided it is timely filed by the United States.

       104. Defendants shall endeavor in good faith to enable the retrofits at the
Subject Properties not under their ownership and control and shall keep the United
States apprised of any issues related to the surveying or retrofit work. Where a
Subject Property is not owned or controlled by a Defendant, and where Defendants
have obtained access to the Subject Property, (a) any and all timelines or deadlines
shall be established from the date such access is granted, and (b) if a dispute arises
with an entity that owns or controls the property regarding any retrofitting required
under this Order, the Defendants shall notify the United States within thirty (30)
days from the date the Defendants have determined that impasse has been reached.
If such notification is provided, the parties shall confer, and to the extent the parties
are unable to reach a resolution, the Defendants or the United States may move the
Court for appropriate relief. As set forth in the Remediation Protocol, the Defendants
shall not be responsible for current conditions at a Subject Property where it can be
demonstrated that the non-compliant condition is, or was caused by, a Subsequent
Modification, as that term is defined in the Remediation Protocol.

        105. Subject to the provisions set forth herein regarding ownership and
control of Subject Properties, Defendants shall not be relieved of their respective
obligations to seek access to the Subject Properties or to retrofit any Subject Property
as required by this Order, including those properties not currently owned or
controlled by a Defendant, unless relieved by the Court or by the written agreement
of the parties.

      106. Nothing in this Order shall preclude the United States from making its
own efforts to obtain access to any Subject Property or any Subject Property covered
multifamily dwelling unit interiors, for the purpose of performing any retrofitting
required under this Order, and for the purpose of interviewing or meeting with
residents at a Subject Property to aid in the implementation or completion of this
Order.




                                           25
 Case: 1:19-cv-00346-DRC Doc #: 49 Filed: 08/27/20 Page: 26 of 63 PAGEID #: 497




B.    Agreement on Retrofits at Subject Properties

       107. The United States and the Defendants shall, within ninety (90) days of
receiving the Initial Property Survey Report, provide a list of objections to the Initial
Property Survey Report to the Properties Surveyor. If both parties fail to provide
notice of objections to the Initial Property Survey Report, the Initial Property Survey
Report will be deemed accepted by all parties and will become the Final Property
Survey Report and the Defendants need only retrofit the elements included in the
Final Property Survey Report. If either party or both parties provide notice of
objections, the Properties Surveyor shall respond with a Final Property Survey
Report within thirty (30) days. The parties agree to abide by the conclusions of the
Properties Surveyor in the Final Property Survey Report.

C.    General Retrofits to Accessible Routes at Surveyed Subject Properties

       108. No later than twenty-four (24) months from the date of the applicable
Final Property Survey Report on retrofits to the accessible routes at each Surveyed
Subject Property as set forth in Paragraph 107, the Defendants identified as
responsible for the Subject Property in Appendix A (subject to Paragraphs 103-105)
will complete the agreed retrofits to the accessible routes at that Subject Property.

D.    Retrofits to Public and Common Use Areas of Subject Properties

      109. No later than twenty-four (24) months from the date of the applicable
Final Property Survey report on retrofits to public and common use areas at each
Surveyed Subject Property as set forth in Paragraph 107, the Defendants identified
as responsible for the Subject Property in Appendix A (subject to Paragraphs 103-
105) will complete the agreed retrofits to the public and common use areas at that
Subject Property.




E.    Retrofits to Covered Multifamily Dwelling Unit Interiors at Subject
      Properties

       110. No later than thirty-six (36) months from the date of the applicable Final
Property Survey Report on retrofits to covered multifamily dwelling unit interiors of
a Surveyed Subject Property as set forth in Paragraph 107, the Defendants identified
as responsible for the Subject Property in Appendix A (subject to Paragraphs 103-
105) will complete the agreed retrofits to the covered multifamily dwelling unit
interiors at that Subject Property. Retrofits to occupied units will be done upon unit
turnover whenever possible.




                                           26
 Case: 1:19-cv-00346-DRC Doc #: 49 Filed: 08/27/20 Page: 27 of 63 PAGEID #: 498




       111. Within thirty (30) days from the date of the applicable Final Property
Survey Report, the Defendants identified as responsible for the Subject Property in
Appendix A (subject to Paragraphs 103-105) shall provide a notice that is
substantially equivalent to Appendix C to the current residents in covered
multifamily dwelling units at the Subject Property. The notice shall inform Subject
Property residents that (1) to settle this lawsuit, the Defendants have agreed to
perform certain retrofits to covered units; (2) the unit must be retrofitted within three
(3) years; (3) the retrofits will be completed after the resident’s tenancy ends or upon
unit turn-over, or the resident can schedule the retrofits; (4) the retrofits will be
performed at no cost to the resident; and (5) temporary relocation will be provided to
the resident, if necessary, while the retrofits are completed, or if temporary relocation
is unavailable, a payment equivalent to the U.S. General Services Administration
rate will be provided to the resident for temporary relocation expenses incurred by
the resident, as required by Section V of this Order, infra. The Defendants shall
certify to the United States in writing that these notices have been distributed and
the manner in which they were distributed within ten (10) days after such
distribution.

       112. Subject Property residents may request, in writing, that retrofits to
covered dwelling units required by the Final Property Survey Report be performed
on an expedited basis, and the requests shall be granted by Defendants on a first-
come, first-served basis. Defendants shall complete the retrofits as promptly as
practical, subject to delays due to circumstances beyond Defendants’ control including
but not limited to labor and/or supply disputes or shortages or inclement weather,
but not later than forty-five (45) days from the date on which the Defendants receive
the request from the resident, with such deadline being subject to Paragraph 145,
below, of this Order.

   V. INCONVENIENCE AND OVERNIGHT STAYS FOR RETROFITTING
         COVERED MULTIFAMILY DWELLING UNIT INTERIORS
                   AT SUBJECT PROPERTIES

      113. Defendants shall endeavor to minimize inconvenience to residents in
scheduling and performing retrofits required by this Order to covered multifamily
dwelling unit interiors at the Subject Properties.

       114. If a resident at a Subject Property scheduled to undergo a retrofit will
be dislocated from the unit for more than twenty-four (24) hours consecutively,
Defendants involved in the design and construction of a Subject Property shall
relocate the resident to another available unit in the development or, if no such unit
is available, pay the resident the U.S. General Services Administration rate for
temporary relocation expenses incurred by the resident. Such payment shall be made
prior to the commencement of any retrofit work on the resident’s unit, so that the




                                           27
 Case: 1:19-cv-00346-DRC Doc #: 49 Filed: 08/27/20 Page: 28 of 63 PAGEID #: 499




resident or owner may use the money to obtain alternative living accommodations
and obtain food while dislocated.

 VI. NOTICE OF RETROFITS TO PUBLIC AND COMMON USE AREAS AT
                    SUBJECT PROPERTIES

       115. Within thirty (30) days of the date of the applicable Final Property
Survey Report, the Defendants shall provide written notice to all current residents at
each Subject Property stating that the retrofits required by this Order will be
performed to the public and common use areas of the Subject Properties, which
include unit entrances and accessible routes. Such notice shall conform to Appendix
H. Defendants shall certify to the United States in writing that the notices have been
distributed and the manner in which they were distributed within ten (10) days after
such distribution.

          VII. NEUTRAL INSPECTOR AT SUBJECT PROPERTIES

       116. Defendants involved in the design and construction of a Subject
Property shall enter into a contract with one or more neutral inspectors approved by
the United States (“Surveyed Properties Inspector”) to conduct on-site inspections of
the retrofits at the Surveyed Subject Properties that have been performed under this
Order to determine whether the retrofits have been completed in accord with the
specifications in this Order. The Surveyed Properties Inspector shall have expertise
in the Accessible Design Requirements of the FHA and the accessibility and
adaptability requirements of the Guidelines, the ADA, the ADA Standards, ANSI
A117.1-1986, and UFAS.

       117. An inspection of a Subject Property shall take place within thirty (30)
days of the completion of all of the retrofits to covered multifamily dwelling unit
interiors and the public and common use areas at that Subject Property. Defendants
involved in the design and construction of that Surveyed Subject Property shall give
the United States at least three (3) weeks’ notice of the inspection and shall give the
United States an opportunity to have its representatives present for the inspection.

        118. The Surveyed Properties Inspector shall set out the results of each
inspection of the Subject Property, including any failure to make the retrofits
required by the Remediation Protocol, if any, in writing, and shall send that report to
counsel for Defendants and counsel for the United States. If the inspection indicates
that not all the required retrofits agreed upon by the parties in the Remediation
Protocol have been made at the Subject Property, Defendants shall correct any
deficiencies within sixty (60) days and Defendants shall pay for another inspection
by the same Surveyed Properties Inspector to certify that the deficiencies have been
corrected. This process shall continue until the Surveyed Properties Inspector
certifies that all the required retrofits have been made at each Subject Property.



                                          28
 Case: 1:19-cv-00346-DRC Doc #: 49 Filed: 08/27/20 Page: 29 of 63 PAGEID #: 500




Defendants shall pay all the Surveyed Properties Inspector’s reasonable costs
associated with these inspections of the Subject Property, and such payments shall
be made without regard to the Surveyed Properties Inspector’s findings. Upon
reasonable notice to Defendants, representatives of the United States shall be
permitted to inspect the retrofits made by Defendants in accordance with this Order
and the Surveyed Properties Inspector’s inspection reports provided for in this Order,
to ensure compliance; provided, however, that the United States shall endeavor to
minimize any inconvenience caused by such inspections.

        VIII. TRANSFER OF INTEREST IN SUBJECT PROPERTIES

       119. The sale, foreclosure, or any other transfer of ownership, in whole or in
part, whether voluntary or involuntary, during the effective period of the Consent
Order, which shall include any extensions to the term of the Consent Order, of any of
the Subject Properties shall not affect Defendants’ continuing obligation to retrofit
any Subject Property as specified in this Order. Should a Defendant sell or transfer
ownership of any Subject Property, in whole or in part, or any portion thereof, prior
to the completion of the retrofits specified in Sections IV and Section VII of this Order,
the Defendant will, at least thirty (30) days prior to completion of the sale or transfer:
(a) provide to each prospective buyer written notice that the Subject Property is
subject to this Order, including specifically the Defendant’s obligations to complete
required retrofit work and to allow inspections, along with a copy of this Order; and
(b) provide to the United States, by e-mail and first-class mail, written notice of the
intent to sell or transfer ownership, along with a copy of the notice sent to each buyer
or transferee, and each buyer’s or transferee’s name, address and telephone number.

                          IX. NO RAISING RENT PRICES

      120. Defendants with an ownership or management interest in a Subject
Property, their agents and affiliated companies, may not raise the rent price of any
dwelling unit or demand any deposit or other fee for a dwelling unit at any Subject
Property solely because of contemplated or completed retrofits pursuant to this Order
in a dwelling unit.

  X. NON-DISCRIMINATION IN FUTURE DESIGN AND CONSTRUCTION

      121. For the duration of the Consent Order, Defendants will maintain and
provide to the United States the following information and statements regarding
multi-family, residential properties under construction as of August 3, 2016, or
constructed after August 3, 2016, and any other covered multifamily, residential
dwellings intended to be, or which actually are, developed, built, designed,
constructed, or engineered in whole or in part, by any of them or by any entities in
which they have a position of control as an officer, director, member, or manager, or
have a ten-percent (10%) or larger ownership share, provided, however, that such



                                           29
 Case: 1:19-cv-00346-DRC Doc #: 49 Filed: 08/27/20 Page: 30 of 63 PAGEID #: 501




information and statements need to be maintained and/or provided only on properties
in which a Defendant is actually involved, not on those properties in which a
Defendant bids or expresses an interest, but does not become finally involved:

      a.    The name and address of the multi-family, residential property;
      b.    A description of the property and the individual units;
      c.    The name, address, and telephone number of the civil engineer(s)
            involved with the project;
      d.    To the extent in Defendants’ possession or reasonably able to be
            obtained, a statement from the civil engineer(s) involved with the
            property acknowledging and describing his/her knowledge of and
            training in the requirements of the FHA and the ADA and in the field of
            accessible site design and certifying that he/she has reviewed the
            engineering documents for the project and that the design specifications
            therein fully comply with the requirements of the FHA, the FHA
            Guidelines, the ADA, the ADA Standards, ANSI A117.1-1986, and
            UFAS;
      e.    The name, address and telephone number of the architect(s) involved
            with the property;
      f.    To the extent in Defendants’ possession or reasonably able to be
            obtained, a statement from all architect(s) involved with the property
            acknowledging and describing his/her knowledge of and training in the
            Accessible Design Requirements of the FHA, 42 U.S.C. §§ 3406(f)(1),
            (f)(2), and (f)(3)(C), the requirements of the FHA Guidelines, the ADA,
            42 U.S.C. § 12183(a)(1), the ADA Standards, and in the field of
            accessible site design and certifying that he/she has reviewed the
            architectural plans for the property and that the design specifications
            therein fully comply with the requirements of the Act, the FHA
            Guidelines, the ADA, the ADA Standards, ANSI A117.1-1986, and
            UFAS;
      g.    If the engineering documents or architectural plans are revised, and the
            revisions could have any impact on the accessibility of the dwellings or
            property, each of Defendants will obtain, maintain, and provide to the
            United States upon request, and to the extent in Defendants’ possession
            or reasonably able to be obtained, a statement from the civil engineer(s)
            or architect(s) involved with the property that all specifications in the
            revised engineering documents or architectural plans, as pertinent,
            comply with the Accessible Design Requirements of the FHA and the
            FHA Guidelines, and the Americans with Disabilities Act, the ADA
            Standards, ANSI A117.1-1986, and UFAS, where applicable.

       122. Within three (3) years from the date of this Order, Defendants will take
all actions to make all multi-family, residential properties that Defendants have
ownership or control over and that were under construction as of August 3, 2016, or



                                        30
 Case: 1:19-cv-00346-DRC Doc #: 49 Filed: 08/27/20 Page: 31 of 63 PAGEID #: 502




constructed after August 3, 2016, or any future multi-family, residential construction
within the meaning of Paragraph 121, compliant with the Accessible Design
Requirements of the FHA, the FHA Guidelines, the ADA, and the ADA Accessibility
Standards. Upon reasonable notice during the three (3) year period from entry of this
Order, and provided Defendants have ownership or control of the future constructed
properties identified herein, the United States will be permitted full access to such
properties to inspect for compliance with the FHA, FHA Guidelines, ADA, ADA
Standards, and if applicable, UFAS.

  XI. SETTLEMENT FUND AND PAYMENTS TO AGGRIEVED PERSONS

       123. Within sixty (60) days of the entry of this Order, Defendants shall
deposit in an interest-bearing account the total sum of FOUR HUNDRED
THOUSAND DOLLARS ($400,000.00) for the purpose of compensating any aggrieved
persons who may have suffered harm as a result of the alleged discriminatory housing
practices by Defendants. This money shall be referred to as the “Settlement Fund,”
and shall be for the purpose of compensating any aggrieved persons who may have
suffered harm as a result of the alleged discriminatory housing practices by
Defendants.

      124. Within sixty (60) days of the entry of this Order, Defendants shall
publish the Notice to Potential Victims of Alleged Housing Discrimination (“Notice”)
at Appendix D informing readers of the availability of compensatory funds. The
Notice shall be no smaller than three columns by six inches and shall be published
on three occasions in newspapers of general circulation serving each locality in which
a Subject Property is located. The publication dates shall be separated from one
another by twenty-one (21) days, and at least two of the publication dates shall be on
a Sunday. Within ten (10) days of each publication date, Defendants shall provide the
newspaper containing the Notice to counsel for the United States.

      125. Within sixty (60) days of the entry of this Order, Defendants shall send
a copy of the Notice to each of the following organizations listed in Appendix I.

       126. Within six (6) months of the entry of this Order, Defendants shall send,
by first-class mail, postage pre-paid, a copy of the Notice to each past or present
tenant who resided at a Subject Property in the five (5) years preceding the execution
date of this Consent Order for which they have records. Defendants will have
complied with the requirements of this paragraph by mailing such notice to the last
known forwarding address provided to the owners or managers of the Subject
Properties or their agents by the former tenant at the time the former tenant moved
out. Within seven (7) months of entry of this Order, Defendants shall provide to
counsel for the United States proof that the Notices have been sent.

      127. Allegedly aggrieved persons shall have twelve (12) months from the date
of the entry of this Order to contact the United States. The United States shall


                                         31
 Case: 1:19-cv-00346-DRC Doc #: 49 Filed: 08/27/20 Page: 32 of 63 PAGEID #: 503




investigate the claims of allegedly aggrieved persons and make a preliminary
determination of which persons are aggrieved and whether any amount of damages
should be paid to each such person. The preliminary determinations of the
appropriate amount of damages shall total no more than FOUR HUNDRED
THOUSAND DOLLARS ($400,000.00), and shall not include any interest that has
accrued in the account. The United States will inform Defendants, in writing, of its
preliminary determinations, and provide a copy of a sworn declaration from each
allegedly aggrieved person setting forth the factual basis of the claim. Defendants
shall have thirty (30) days to review the declarations and provide to the United States
any comments, documents or information that they believe may refute the claim.

       128. The United States shall submit its final recommendations to the Court
for approval, together with a copy of the declarations and any additional information
submitted by Defendants. The final recommendations by the United States shall not
total more than FOUR HUNDRED THOUSAND DOLLARS ($400,000.00), and shall
not include any interest that has accrued in the account. When the Court issues an
order approving or changing the United States’ proposed distribution of funds for
allegedly aggrieved persons, Defendants, within ten (10) days of the Court’s order,
shall deliver to the United States checks payable to the allegedly aggrieved persons
in the amounts approved by the Court, plus a proportionate share of the interest that
has accrued in the Settlement Fund as of the day before the checks are sent to the
United States. In no event shall the aggregate of all such checks exceed the sum of
the Settlement Fund, including accrued interest. No allegedly aggrieved person shall
be paid until he/she has executed and delivered to counsel for the United States the
release at Appendix E.

       129. After the satisfaction of Paragraphs 123-128, above, and the expiration
of the corresponding time periods and subject to any extensions as provided by
Paragraph 145, any money remaining in the Settlement Fund, including interest,
shall be distributed to the United States Treasury in the form of an electronic funds
transfer based on written instructions to be provided by the United States.

      130. Defendants shall permit the United States, upon reasonable notice, to
review any records that may reasonably facilitate its determinations regarding the
claims of alleged aggrieved persons.

      131. Nothing in this Order shall preclude the United States from making its
own efforts to locate and provide notice to potential aggrieved persons.

                               XII. CIVIL PENALTY

     132. Within fifteen (15) days of the entry of this Order, the following
Defendant shall be responsible for paying a civil penalty on behalf of all Defendants
of SEVENTY FIVE THOUSAND DOLLARS ($75,000.00) under 42 U.S.C.



                                          32
 Case: 1:19-cv-00346-DRC Doc #: 49 Filed: 08/27/20 Page: 33 of 63 PAGEID #: 504




§ 3614(d)(1)(C) and 42 U.S.C. § 12188(b)(2)(C)(i) to vindicate the public interest:
Miller-Valentine Apartments II Ltd. This payment shall be in the form of an
electronic funds transfer in accordance with written instructions to be provided by
the United States. The civil penalty is a debt for a fine, penalty, or forfeiture payable
to and for the benefit of the United States within the meaning of 11 U.S.C. § 523(a)(7),
and is not compensation for actual pecuniary loss. No Defendant shall seek to
discharge any part of this debt in bankruptcy.

                         XIII. EDUCATIONAL PROGRAM

       133. Within thirty (30) days of the entry of this Order, Defendants will
provide a copy of this Order to all their agents and employees involved in the design
or construction of the Subject Properties and secure the signed statement from each
agent or employee acknowledging that he or she has received and read the Order, and
has had an opportunity to have questions about the Order answered. This statement
will be substantially similar to the form of Appendix F.

      134. Within thirty (30) days after the date he or she commences an agency or
employment relationship with a Defendant, each new agent or employee involved in
the design and construction of any Subject Property or other covered multifamily
dwelling property will be given a copy of this Order and be required to sign the
statement acknowledging that he or she has received and read the Order, and has
had an opportunity to have questions about the Order answered. This statement will
be substantially similar to the form of Appendix F.

      135. Defendants will also ensure that they and their employees and agents
who have primary management authority over the design and/or construction of
covered multifamily dwellings have a copy of, are familiar with, and personally
review, the Fair Housing Accessibility Guidelines, 56 Fed. Reg. 9472 (1991) and the
United States Department of Housing and Urban Development, Fair Housing Act
Design Manual, A Manual to Assist Builders in Meeting the Accessibility
Requirements of the Fair Housing Act, (August 1996, Rev. April 1998). Defendants
and all employees and agents whose duties, in whole or in part, involve the
management, sale and/or rental of multifamily dwellings at issue in this case will be
informed of those portions of the FHA that relate to accessibility requirements,
reasonable accommodations and reasonable modifications.

       136. Within ninety (90) days of the entry of this Order, Defendants and all
their employees and agents whose duties, in whole or in part, involve or will involve
primary management authority over the development, design and/or construction of
multifamily dwellings will undergo training on the design and construction
requirements of the FHA and the ADA. The training will be conducted by a qualified
individual unconnected to the Defendants or the Defendants’ attorneys who has been
previously approved by the Department of Justice, and any expenses associated with



                                           33
 Case: 1:19-cv-00346-DRC Doc #: 49 Filed: 08/27/20 Page: 34 of 63 PAGEID #: 505




this training will be borne by Defendants. Defendants will provide to the United
States, within thirty (30) days after the training, the name(s), address(es) and
telephone number(s) of the trainer(s); copies of the training outlines and any
materials distributed by the trainers; and certifications executed by all Defendants
and covered employees and agents confirming their attendance, in a form
substantially equivalent to Appendix G.

     XIV. NOTICE OF DEFENDANTS’ NON-DISCRIMINATION POLICY

      137. Within ten (10) days of the entry of this Order, Defendants with an
ownership or management interest in a covered multifamily dwelling property will
post and prominently display in the sales or rental offices of all covered multifamily
dwellings owned or operated by them a sign no smaller than 10 inches by 14 inches
indicating that all dwellings are available for rental on a nondiscriminatory basis. A
poster that comports with 24 C.F.R. Part 110 will satisfy this requirement.

      138. In all future advertising in newspapers, electronic media, pamphlets,
brochures and other promotional literature regarding the Subject Properties or any
new covered multifamily dwelling properties that any Defendant may develop or
construct, such Defendant will place, in a conspicuous location, a statement that the
dwelling units include features for persons with disabilities required by the federal
Fair Housing Act.

  XV. NOTIFICATION AND DOCUMENT RETENTION REQUIREMENTS

       139. In addition to all other reporting required herein, within one hundred
eighty (180) days of the entry of this Order, Defendants will submit to the United
States an initial report containing the reporting required by Section X, detailing their
compliance with Sections XIII and XIV, and containing the signed statements of
Defendants and their employees and agents who have completed the training
program specified in Paragraph 136 of this Order. Thereafter Defendants will, on a
quarterly basis, submit to the United States a compliance report detailing the
retrofitting and inspections of the retrofits at the Subject Properties. In addition, on
the anniversary of the entry of this Order, the Defendants will submit to the United
States a report for the reporting required by Paragraphs 121–122 on the current and
future design and construction, and containing the signed statements of new
employees and agents that, in accordance with Paragraph 134 of this Order, they
have received and read the Order, and had an opportunity to have questions about
the Order answered, except that the last compliance report will be due sixty (60) days
prior to the anniversary.

      140. Defendants will advise the United States in writing within fifteen (15)
days of receipt of any written administrative or legal fair housing complaint against
any property owned or managed by them, or against any employees or agents of



                                          34
 Case: 1:19-cv-00346-DRC Doc #: 49 Filed: 08/27/20 Page: 35 of 63 PAGEID #: 506




Defendants working at or for any such property, regarding discrimination on the
basis of disability in housing. Upon reasonable notice, Defendants will also provide
the United States all information it may request concerning any such complaint.
Defendants will also advise counsel for the United States, in writing, within fifteen
(15) days of the resolution of any complaint.

       141. Defendants are required to preserve all records related to this Order,
related to the Subject Properties and related to any other covered multifamily
dwellings designed, constructed, owned, operated, or acquired by them during the
duration of this Order. Upon reasonable notice to Defendants, representatives of the
United States will be permitted to inspect and copy any records of Defendants or
inspect any properties or dwelling units under the control of Defendants bearing on
compliance with this Order at any and all reasonable times, provided, however, that
the United States will endeavor to minimize any inconvenience to Defendants and
residents from such inspections.

 XVI. DURATION OF CONSENT ORDER AND TERMINATION OF LEGAL
                          ACTION

       142. This Order will remain in effect for three (3) years after the date of its
entry, or until six (6) months after the Surveyed Properties Inspector has certified
that all the retrofits required by this Order have been completed, whichever date is
later, and the Court will retain jurisdiction to enforce this Order. By consenting to
entry of this Order, the parties agree that in the event that a Defendant engages in
any future conduct occurring after entry of this Order that leads to a determination
of a violation of the FHA, such conduct will constitute a “subsequent violation” under
42 U.S.C. § 3614(d)(1)(C)(ii) solely against the Defendant who engages in such
conduct. By consenting to entry of this Order, the parties agree that in the event that
a Defendant engages in any future violation(s) of the ADA, such violation(s) will
constitute a “subsequent violation” under 42 U.S.C. § 12188(b)(2)(C)(ii) solely against
the Defendant who engages in such conduct.

      143. The Court will retain jurisdiction for the duration of this Order to
enforce the terms of the Order, at which time the case will be dismissed with
prejudice. Either the United States or Defendants may move the Court to extend the
duration of the Order in the interests of justice.

       144. All parties will endeavor, in good faith, to resolve informally any
differences regarding interpretation of and compliance with this Order prior to
bringing such matters to the Court for resolution. However, in the event of a failure
by a Defendant to perform, in a timely manner, any act required by this Order or
otherwise for their failure to act in conformance with any provision thereof, the
United States may move this Court to impose any remedy authorized by law or
equity, including, but not limited to, an order requiring performance of such act or



                                          35
 Case: 1:19-cv-00346-DRC Doc #: 49 Filed: 08/27/20 Page: 36 of 63 PAGEID #: 507




deeming such act to have been performed, and an award of any damages, costs, and
reasonable attorney’s fees which may have been occasioned by the violation or failure
to perform.

                        XVII. TIME FOR PERFORMANCE

      145. Any time limits for performance imposed by this Order may be extended
by the mutual written agreement of the United States and the relevant Defendants.

                   XVIII. RELEASE OF LITIGATION HOLDS

       146. The parties agree that, as of the date of entry of this Order, litigation is
not “reasonably foreseeable” concerning the subject matter of the United States’
complaint. To the extent that any of the parties previously implemented a litigation
hold to preserve documents, electronically stored information, or things related to the
matters described herein, the party is no longer required to maintain such a litigation
hold. Nothing in this paragraph relieves the parties of any other obligation imposed
by this Order.

                            XIX. RELEASE OF CLAIMS

       147. The United States hereby releases and forever discharges Defendants
and Defendants’ parent entities, subsidiaries, franchisees and affiliates, as well as
the officers, directors, members, partners, managers, trustees, employees of those
entities, including in their individual capacity named in this action (“Defendant
Entities”) from any and all liability for any claims, legal or equitable, the United
States may have against them arising from or related to the FHA and ADA
allegations in the United States’ Complaint (filed 5/9/19) as of the date of the entry of
this Consent Order, except that nothing in this paragraph shall prevent or limit the
United States from fulfilling its obligations under 42 U.S.C. § 3612(o). Upon the
expiration of this Order, as set forth under Paragraph 142, the release under this
paragraph shall extend and apply to all Defendant Entities to the extent arising from
or related to the design and construction projects referenced under Section X under
the FHA and ADA. This paragraph shall survive the expiration of this Consent Order.


                               XX. MISCELLANEOUS

      148. Given the ongoing national pandemic, all obligations tied to the entry of
this Consent Order under Sections III through Section VII (and correspondingly all
subsequent obligations), shall be extended until December 1, 2020.

      149. Defendants agree that this Consent Order shall not affect, alter, or
modify the obligations owed amongst the Defendants contained in agreements among
the Defendants concerning the allocation of costs and responsibilities for completing


                                           36
 Case: 1:19-cv-00346-DRC Doc #: 49 Filed: 08/27/20 Page: 37 of 63 PAGEID #: 508




retrofits at the Subject Properties or of other payments required by the Consent
Order. Defendants also agree that the provisions and obligations as set forth in this
Consent Order, the addenda hereto, and retrofit protocols are not affected, altered, or
limited in any way by any separate agreements among the Defendants concerning
the allocation of costs and responsibilities for completing retrofits at the Subject
Properties or of other payments required by the Consent Order.

Dated: August 27, 2020

                                               __________________________
                                               Douglas R. Cole
                                               United States District Judge


FOR THE UNITED STATES:

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United States Attorney                         Assistant Attorney General
Southern District of Ohio                      Civil Rights Division


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                                          37
Case: 1:19-cv-00346-DRC Doc #: 49 Filed: 08/27/20 Page: 38 of 63 PAGEID #: 509




                                     38
 Case: 1:19-cv-00346-DRC Doc #: 49 Filed: 08/27/20 Page: 39 of 63 PAGEID #: 510




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                                      39
Case: 1:19-cv-00346-DRC Doc #: 49 Filed: 08/27/20 Page: 40 of 63 PAGEID #: 511




                                                      APPENDIX A

Consent Order, United States v. Miller-Valentine Operations, Inc., et al.,
                     No. 1:19-cv-346 (S.D. Ohio)

Subject Property                   Address                                      Affiliated Defendants




                                                                                Allegheny Pointe Limited Partnership; MVO
                                                                                Holdings LLC; MV Residential Construction
                                                                                LLC; MV Residential Development LLC; MV
1. Allegheny Pointe                662 Cedar Ridge Drive, Apollo, PA 15613      Affordable Housing LLC


                                                                                MVO Holdings LLC; MV Residential
                                                                                Construction LLC; MV Residential Development
2. Aspen Grove Apartments          1925 Aaron Drive, Middletown, OH 45044       LLC; MV Affordable Housing LLC


                                                                                MVO Holdings LLC; MV Residential
                                                                                Construction LLC; MV Residential Development
3. Bent Tree Apartments I          1240 Garbry Road, Piqua, OH 45356            LLC; MV Affordable Housing LLC


                                                                                MVO Holdings LLC; MV Residential
                                                                                Construction LLC; MV Residential Development
4. Bent Tree Apartments II         1240 Garbry Road, Piqua, OH 45356            LLC; MV Affordable Housing LLC


                                                                                MVO Holdings LLC; MV Residential
                                                                                Construction LLC; MV Residential Development
5. Breckenridge Apartments         2070 Breckenridge Road, Findlay, OH 45840    LLC; MV Affordable Housing LLC


                                                                                MVO Holdings LLC; MV Residential
                                   1920 North Bridge Street, Chillicothe, OH    Construction LLC; MV Residential Development
6. Bridge Street Landing           45601                                        LLC; MV Affordable Housing LLC



7. Brookdale Trillium Crossing                                                  MVO Holdings LLC; MV Commercial
(fka Trillium Place)               3500 Trillium Crossing, Columbus, OH 43235   Construction LLC



                                                                                MVO Holdings LLC; MV Residential
                                                                                Construction LLC; MV Residential Development
8. Brookstone Apartments           500 Gunntown Road, Bellefontaine, OH 43311   LLC; MV Affordable Housing LLC


                                                                                Carriage Trails Senior Village, LLC.; MVO
                                                                                Holdings LLC; MV Residential Construction
                                   1000 Waterside Circle, Huber Heights, OH     LLC; MV Residential Development LLC; MV
9. Carriage Trails Senior Villas   45371                                        Affordable Housing LLC



                                                                                MVO Holdings LLC; MV Residential
                                                                                Construction LLC; MV Residential Development
10. Cedar Trail                    1832 Surrey Trail, Bellbrook, OH 45305       LLC; MV Affordable Housing LLC




                                                                 40
Case: 1:19-cv-00346-DRC Doc #: 49 Filed: 08/27/20 Page: 41 of 63 PAGEID #: 512




                                                                               MVO Holdings LLC; MV Residential
                                                                               Construction LLC; MV Residential Development
11.Cedar Wood Apartments        478 East Cook Road, Mansfield, OH 44903        LLC; MV Affordable Housing LLC


                                                                               MVO Holdings LLC; MV Residential
12. Cobblegate Square                                                          Construction LLC; MV Residential Development
Apartments                      2686 Cobble Circle, Moraine, OH 45439          LLC; MV Affordable Housing LLC



                                                                               MV/ALG Deerfield Crossing Limited; Miller-
13. Deerfield Crossing          1111 Deerfield Road, Lebanon, OH 45036         Valentine Partners Ltd.



                                                                               MVO Holdings LLC; MV Residential
                                                                               Construction LLC; MV Residential Development
14. Eagles Point Apartments     815 Morningside Drive, Kenton, OH 43326        LLC; MV Affordable Housing LLC


                                                                               MVO Holdings LLC; MV Residential
                                600 South Country Club Road, El Reno, OK       Construction LLC; MV Residential Development
15. Fairway Breeze Apartments   73036                                          LLC; MV Affordable Housing LLC


                                                                               MVO Holdings LLC; MV Residential
                                                                               Construction LLC; MV Residential Development
16. Faith Community Housing     1000 Dove Lane, Crestline, OH 44827            LLC; MV Affordable Housing LLC


                                                                               MVO Holdings LLC; MV Residential
                                                                               Construction LLC; MV Residential Development
17. Fox Run (Fieldstone)        261 Fieldstone Drive, Trotwood, OH 45426       LLC; MV Affordable Housing LLC

                                                                               Galena Estates, LLC; MVO Holdings LLC; MV
                                                                               Residential Construction LLC; MV Residential
                                                                               Development LLC; MV Affordable Housing
18. Galena Estates              1910 East Village Circle, Galena, KS 66739     LLC

                                                                               Gallatin Park Apartments, LLC; MVO Holdings
                                                                               LLC; MV Residential Construction LLC; MV
                                271 Albert Gallatin Avenue, Gallatin, TN       Residential Development LLC; MV Affordable
19. Gallatin Park Apartments    37066                                          Housing LLC


                                                                               MVO Holdings LLC; MV Residential
                                                                               Construction LLC; MV Residential Development
20. Glen Arbors Apartments      2400 Glen Arbors Drive, Napoleon, OH 43545     LLC; MV Affordable Housing LLC
                                                                               Hampshire Terrace II Limited Partnership; MVO
                                                                               Holdings LLC; MV Residential Construction
                                                                               LLC; MV Residential Development LLC; MV
21. Hampshire Landing           2021 Hampshire Terrace, Joplin, MO 64804       Affordable Housing LLC


                                                                               MVO Holdings LLC; MV Residential
                                                                               Construction LLC; MV Residential Development
22. Harbour Cove Apartments     500 Anchor Drive, Cincinnati, OH 45255         LLC; MV Affordable Housing LLC


                                                                               Harmony Senior Village, LLC; MVO Holdings
                                                                               LLC; MV Residential Construction LLC; MV
                                                                               Residential Development LLC; MV Affordable
23. Harmony Senior Village      175 North 8th Street, Williamsburg, OH 45176   Housing LLC




                                                              41
Case: 1:19-cv-00346-DRC Doc #: 49 Filed: 08/27/20 Page: 42 of 63 PAGEID #: 513




                                                                          MVO Holdings LLC; MV Residential
                                                                          Construction LLC; MV Residential Development
24. Holly Hills Apartments    700 Holly Hills Drive, Jackson, OH 45640    LLC; MV Affordable Housing LLC



                                                                          MV/ALG Honey Creek Limited; Miller-
25. Honey Creek               1786 Honey Lane, Greenwood, IN 46143        Valentine Partners Ltd.


                                                                          MVO Holdings LLC; MV Residential
                                                                          Construction LLC; MV Residential Development
26. Hoover Place              5407 Hoover Avenue, Dayton, OH 45417        LLC; MV Affordable Housing LLC


                                                                          MVO Holdings LLC; MV Residential
                                                                          Construction LLC; MV Residential Development
27. Hunter’s Oak Apartments   1199 East Russ Road, Greenville, OH 45331   LLC; MV Affordable Housing LLC


                                                                          Indian Trace Limited Partnership; Miller-
                                                                          Valentine Apartments II Ltd.; Miller-Valentine
28. Indian Trace I            5081 Red Cloud Court, Oxford, OH 45056      Partners Ltd.



                                                                          Arrowhead Crossing Limited; Miller-Valentine
29. Indian Trace II           5081 Red Cloud Court, Oxford, OH 45056      Partners Ltd.

                                                                          Lake Towne Senior Village, LLC; MVO
                                                                          Holdings LLC; MV Residential Construction
                              4975 Lake Towne Drive, Walbridge, OH        LLC; MV Residential Development LLC; MV
30. Lake Town Senior          43465                                       Affordable Housing LLC


                                                                          MVO Holdings LLC; MV Residential
                                                                          Construction LLC; MV Residential Development
31. Lofts at Hoover           5348 Joshua Trail, Dayton, OH 45417         LLC; MV Affordable Housing LLC



                                                                          MVO Holdings LLC; MV Commercial
32. Lofts at One West High    1 West High Street, Oxford, OH 45056        Construction LLC

                                                                          MVO Holdings LLC; MV Residential
                                                                          Construction LLC; MV Residential Development
33. Lyon Place I              1300 Genesis Way, Dayton, OH 45417          LLC; MV Affordable Housing LLC


                                                                          MVO Holdings LLC; MV Residential
                                                                          Construction LLC; MV Residential Development
34. Lyons Place II            4100 West Third Street, Dayton, OH 45428    LLC; MV Affordable Housing LLC


                                                                          Madison Place Senior Apartments, LLC; MVO
                                                                          Holdings LLC; MV Residential Construction
                                                                          LLC; MV Residential Development LLC; MV
35. Madison Place Senior      4200 Forbes Road, Gastonia, NC 28054        Affordable Housing LLC




                                                                          Miller-Valentine Apartments II Ltd.; Miller-
36. Mallard Glen              21 Lori Lane, Amelia, OH 45102              Valentine Partners Ltd




                                                          42
Case: 1:19-cv-00346-DRC Doc #: 49 Filed: 08/27/20 Page: 43 of 63 PAGEID #: 514




                                                                              MV/ALG Mallard Landing Limited; Miller-
37. Mallard Landing           1205 Lake Boulevard, Marion, OH 43302           Valentine Partners Ltd.



                                                                              MVO Holdings LLC; MV Residential
                                                                              Construction LLC; MV Residential Development
38. Meadow Creek Apartments   1700-A East High Street, Bryan, OH 43506        LLC; MV Affordable Housing LLC


                                                                              MVO Holdings LLC; MV Residential
39. Meadow View South (fka                                                    Construction LLC; MV Residential Development
Timber Creek Apartments)      45 Clearcreek Road, Springboro, OH 45066        LLC; MV Affordable Housing LLC

                                                                              Meadow Vista Senior Villas, LLC; MVO
                                                                              Holdings LLC; MV Residential Construction
                                                                              LLC; MV Residential Development LLC; MV
40. Meadow Vista Sr. Villas   1806 28th Avenue, SW, Altoona, IA 50009         Affordable Housing LLC



                                                                              MV/ALG Mill Pond Limited; Miller-Valentine
41. Mill Pond                 5310 West Keller Road, Muncie, IN 47304         Partners Ltd.

                                                                              TX Nolanville Apartments, Ltd. Co.; MVO
                                                                              Holdings LLC; MV Residential Construction
                                                                              LLC; MV Residential Development LLC; MV
42. Oak Ridge Apartments      339 10th Street, Nolanville, TX 76559           Affordable Housing LLC



                                                                              MVO Holdings LLC; MV Residential
                                                                              Construction LLC; MV Residential Development
43. Oak Wood Apartments       335 Castor Road, Lexington, OH 44904            LLC; MV Affordable Housing LLC


                                                                              MVO Holdings LLC; MV Residential
                                                                              Construction LLC; MV Residential Development
44. Pheasant Run Senior       2920 Old Troy Pike, Dayton, OH 45404            LLC; MV Affordable Housing LLC


                                                                              MVO Holdings LLC; MV Residential
                                                                              Construction LLC; MV Residential Development
45. Pine Ridge                33520 Pine Ridge Drive, Logan, OH 43138         LLC; MV Affordable Housing LLC

                                                                              Pinecrest Apartments, LLC; MVO Holdings
                                                                              LLC; MV Residential Construction LLC; MV
                              3605 Martins Trail Circle, Walkertown, NC       Residential Development LLC; MV Affordable
46. Pinecrest Apartments      27051                                           Housing LLC


                                                                              MVO Holdings LLC; MV Residential
                                                                              Construction LLC; MV Residential Development
47. Quail Run Apartments      641 North Franklin Street, Van Wert, OH 45891   LLC; MV Affordable Housing LLC

                                                                              MVO Holdings LLC; MV Residential
                                                                              Construction LLC; MV Residential Development
48. Queen Esther’s Village    415 17th Street, SE, Canton, OH 44707           LLC; MV Affordable Housing LLC

                                                                              Reserve at Rose Bud, LLC; MVO Holdings LLC;
                                                                              MV Residential Construction LLC; MV
49. Reserve at Oak Spring                                                     Residential Development LLC; MV Affordable
(Reserve at Rose Bud)         100 Oak Spring Court, Clarksburg, WV 26301      Housing LLC




                                                            43
Case: 1:19-cv-00346-DRC Doc #: 49 Filed: 08/27/20 Page: 44 of 63 PAGEID #: 515




                                                                                Reserve at Spencer, LLC; MVO Holdings LLC;
                                                                                MV Residential Construction LLC; MV
                                                                                Residential Development LLC; MV Affordable
50. Reserve at Spencer            8400 NE 36th Street, Spencer, OK 73084        Housing LLC


                                                                                MVO Holdings LLC; MV Residential
                                  8030 Sycamore Creek Drive, Charlotte, NC      Construction LLC; MV Residential Development
51. River Crossing                28273                                         LLC; MV Affordable Housing LLC

                                                                                Delaware Place Senior Apartments, LLC; MVO
                                                                                Holdings LLC; MV Residential Construction
52. Riverside Landing at          351 South Sandusky Street, Delaware, OH       LLC; MV Residential Development LLC; MV
Delaware Place                    43015                                         Affordable Housing LLC

                                                                                Riverview Bluffs Associates, LP; MVO Holdings
                                                                                LLC; MV Residential Construction LLC; MV
                                  104 River Valley Boulevard, New Richmond,     Residential Development LLC; MV Affordable
53. Riverview Bluffs              OH 45157                                      Housing LLC



                                                                                MV/ALG Sandhurst Limited; Miller-Valentine
54. Sandhurst                     3139 Sandhurst Drive, Zanesville, OH 43701    Partners Ltd.


                                                                                MVO Holdings LLC; MV Residential
                                                                                Construction LLC; MV Residential Development
55. Scioto Woods I                2097 Western Avenue, Chillicothe, OH 45601    LLC; MV Affordable Housing LLC



                                                                                Scioto Woods II LLC; Miller-Valentine
                                                                                Apartments II Ltd.; Miller-Valentine Partners
56. Scioto Woods II               2097 Western Avenue, Chillicothe, OH 45601    Ltd.


                                                                                Mercy Siena Village Limited Partnership; Miller-
57. Siena Village Senior Living                                                 Valentine Apartments Ltd.; Miller-Valentine
(aka Mercy Siena Village)         6045 North Main Street, Dayton, OH 45415      Apartments II Ltd; Miller-Valentine Partners Ltd.

                                                                                Western Center Reserve LLC; MVO Holdings
                                                                                LLC; MV Residential Construction LLC; MV
58. Silversage Point at Western   1800 Western Center Boulevard, Fort Worth,    Residential Development LLC; MV Affordable
Center                            TX 76131                                      Housing LLC


                                                                                MVO Holdings LLC; MV Residential
                                                                                Construction LLC; MV Residential Development
59. St. Bernard Commons           5007 Greenlee Avenue, St. Bernard, OH 45217   LLC; MV Affordable Housing LLC

                                                                                St. Rita’s Housing, LLC; MVO Holdings LLC;
                                                                                MV Residential Construction LLC; MV
                                  10614 Ganger Road, Garfield Heights, OH       Residential Development LLC; MV Affordable
60. St. Rita’s Senior Housing     44125                                         Housing LLC


                                                                                MVO Holdings LLC; MV Residential
                                                                                Construction LLC; MV Residential Development
61. Stone Creek Apartments        2686 Cobble Circle, Moraine, OH 45439         LLC; MV Affordable Housing LLC



                                                                                MVO Holdings LLC; MV Residential
                                                                                Construction LLC; MV Residential Development
62. Summit Pointe (Deer Run II)   203 Deer Run, Lawrenceburg, IN 40725          LLC; MV Affordable Housing LLC




                                                               44
Case: 1:19-cv-00346-DRC Doc #: 49 Filed: 08/27/20 Page: 45 of 63 PAGEID #: 516




                                                                               MVO Holdings LLC; MV Residential
                                                                               Construction LLC; MV Residential Development
63. Sycamore Creek Apartments    776 Country Side Lane, Sidney, OH 45365       LLC; MV Affordable Housing LLC


                                                                               The Enclave at Winston-Salem, LLC; MVO
                                                                               Holdings LLC; MV Residential Construction
64. The Enclave at Winston-      1489 Colony Lodge Street, Winston Salem, NC   LLC; MV Residential Development LLC; MV
Salem                            27106                                         Affordable Housing LLC



65. The Landings at Steele                                                     MV/ALG Steele Creek Limited; Miller-Valentine
Creek I                          4520 Branch Bend Lane, Charlotte, NC 28273    Partners Ltd.


                                                                               Steele Creek Apartments Limited Partnership;
66. The Landings at Steele                                                     Miller-Valentine Apartments II Ltd.; Miller-
Creek II                         4520 Branch Bend Lane, Charlotte, NC 28273    Valentine Partners Ltd.


                                                                               Miller-Valentine Apartments II Ltd.

67. Timber Glen II               4486 Timber Glen Drive, Batavia, OH 45103

                                                                               MVO Holdings LLC; MV Residential
                                                                               Construction LLC; MV Residential Development
68. Timber Ridge Apartments      2190 Harshman Road, Dayton, OH 45424          LLC; MV Affordable Housing LLC


                                                                               MVO Holdings LLC; MV Residential
                                                                               Construction LLC; MV Residential Development
69. Timberlake Apartments        465 Timberlake Drive, Vandalia, OH 45414      LLC; MV Affordable Housing LLC



                                 1830 20th Avenue Drive NE, Hickory, NC        MV/ALG Twin Cedars Limited; Miller-Valentine
70. Twin Cedars I                28601                                         Partners Ltd.


                                                                               Twin Cedars Limited Partnership; Miller-
                                 1830 20th Avenue Drive NE, Hickory, NC        Valentine Apartments II Ltd.; Miller-Valentine
71. Twin Cedars II               28601                                         Partners Ltd.

                                                                               Twin Lakes Senior Villas Limited Partnership;
                                                                               MVO Holdings LLC; MV Residential
                                                                               Construction LLC; MV Residential Development
72. Twin Lakes Senior Villas     405 Twin Lakes Drive, Rantoul, IL 61886       LLC; MV Affordable Housing LLC

                                                                               Villas at Twin Cedars, LLC; MVO Holdings
                                                                               LLC; MV Residential Construction LLC; MV
                                 1866 20th Avenue Drive NE, Hickory, NC        Residential Development LLC; MV Affordable
73. Villas at Twin Cedars        28601                                         Housing LLC

                                                                               Weatherwood Place Limited Partnership; MVO
                                                                               Holdings LLC; MV Residential Construction
74. Walkers Ridge Apartments                                                   LLC; MV Residential Development LLC; MV
(Weatherwood)                    5000 Walkers Trail, Greensburg, PA 15601      Affordable Housing LLC


                                                                               MVO Holdings LLC; MV Residential
75. Walnut Run Senior Villas                                                   Construction LLC; MV Residential Development
(aka Villas of Cortland Creek)   105 Sunshine Drive, Cortland, OH 44410        LLC; MV Affordable Housing LLC


                                                                               MVO Holdings LLC; MV Residential
                                                                               Construction LLC; MV Residential Development
76. Waterbury Apartments         1150 South 14th Street, Decatur, IN 46733     LLC; MV Affordable Housing LLC



                                                               45
Case: 1:19-cv-00346-DRC Doc #: 49 Filed: 08/27/20 Page: 46 of 63 PAGEID #: 517




                                                                            Perrysburg Apartment Investment LLC; Miller-
77. Waterstone Landing         12315 Roachton Road, Perrysburg, OH 43551    Valentine Partners Ltd. II


                                                                            Miller-Valentine Apartments II Ltd.
78. Weaver Farm Apartments
(fka Tamarack Trace)           1000 Tamarack Circle, Florence, KY 41042

                                                                            Whitehouse Square Senior Village, LLC; MVO
                                                                            Holdings LLC; MV Residential Construction
79. Whitehouse Square Senior                                                LLC; MV Residential Development LLC; MV
Villas                         7001 Park View Court, Whitehouse, OH 43571   Affordable Housing LLC


                                                                            MVO Holdings LLC; MV Residential
                                                                            Construction LLC; MV Residential Development
80. Wind Ridge Apartments      599 Wind Ridge Place, Tipp City, OH 45371    LLC; MV Affordable Housing LLC



                                                                            MV/ALG Windsor Place Limited; Miller-
81. Windsor Place              3944 Camberlee Way, Beavercreek, OH 45324    Valentine Partners Ltd.


                                                                            MVO Holdings LLC; MV Residential
                                                                            Construction LLC; MV Residential Development
82. Wright Place Apartments    2224 High Wheel Drive, Xenia, OH 45385       LLC; MV Affordable Housing LLC




                                                           46
 Case: 1:19-cv-00346-DRC Doc #: 49 Filed: 08/27/20 Page: 47 of 63 PAGEID #: 518




                                    APPENDIX B

                   NOTICE OF SETTLEMENT OF LAWSUIT

       As you may know, federal law requires that multifamily housing facilities
comply with certain design and construction requirements that allow persons with
disabilities to access such buildings. There are also federal laws that require
accessible design and construction of places of public accommodation, such as leasing
offices, that are accessed by the general public.

        Your property is subject to one or more of these federal laws. In 2019, the U.S.
Department of Justice (the “government”) filed a lawsuit alleging that certain
facilities had not been designed and/or constructed in full compliance with the Fair
Housing Act and Americans with Disabilities Act, United States v. Miller-Valentine
Operations, Inc., Case No. 1:19-cv-346 (S.D. Ohio). Your property is one of the
multifamily housing facilities addressed in the lawsuit. Without admitting liability,
the defendants named in the lawsuit reached a settlement with the government
pursuant to which they agreed to pay for certain modifications of the properties
named in the lawsuit to improve accessibility for persons with disabilities. A copy of
the Consent Order is enclosed with this notice (collectively with this letter and any
amendments to the preceding document, “Settlement Documents”).

       As a result of the settlement, the defendants agreed to make and pay for
certain improvements to your apartment complex in accordance with the Settlement
Documents, so long as you provide access to survey and perform certain construction
at the property. If you agree to provide access to the defendants to perform this work,
defendants will pay for a property surveyor, approved by the government, to assess
which property elements (both common area and intra-unit features) may fall short
of an accessibility protocol agreed to by the government and the defendants. If there
are any areas that warrant remediation in accordance with the Settlement
Documents, the defendants will arrange for such work to be completed, at their
expense and at no cost to you. We realize that these steps may inconvenience you and
your tenants, but our goal is to improve the facilities that were the subject of the
lawsuit so that all persons – disabled and nondisabled – can more fully enjoy the
properties. Therefore, we will work with you to determine a time that is least
disruptive for a property surveyor to assess the property. A copy of the surveyor’s
assessment will be provided to you upon request after the survey is complete.
Depending on the results of the surveyor’s assessment, the government and
defendants will develop a set of steps to address and remedy the issues, which will
also be shared with you upon request. After that, defendants will pay to perform the
agreed-upon remediation, taking reasonable steps to minimize the disruption to your
operations and your tenants. Whenever possible, remediation will be performed at
unit turnover, subject to the timeline worked out by the defendants and the
government. After remediation, the property surveyor will inspect the apartment
complex for compliance with the requirements of the consent order. Please note that


                                          47
 Case: 1:19-cv-00346-DRC Doc #: 49 Filed: 08/27/20 Page: 48 of 63 PAGEID #: 519




any and all improvements to be performed by defendants generally would be subject
to the parameters identified in Attachment A.

       We realize that this notice may raise certain questions, and we therefore
encourage you to reach out to us within thirty (30) days of receipt of this notice to
answer any open questions. Although you are not obligated to provide access to the
defendants for purposes of surveying or performing repairs, we trust that you and
your tenants and future tenants will be best served by permitting this work to be
conducted in a timely fashion. We ask that you confirm within thirty (30) days of
receiving this notice whether you will permit defendants to take the steps discussed
herein, or to indicate whether access will not be granted and, if so, why not. The
government retains the right to take legal action to seek to obtain access to properties
for purposes of surveys and retrofits where consent is not provided by the current
owners.

             We thank you in advance for your anticipated cooperation.




                                          48
Case: 1:19-cv-00346-DRC Doc #: 49 Filed: 08/27/20 Page: 49 of 63 PAGEID #: 520




                                 Attachment A

    a)    Defendants may take possession of, sell, or otherwise receive a credit
          for any usable materials, fixtures, or appliances removed as part of any
          retrofit;

    b)    Defendants may relocate common area elements to another reasonable
          location (i.e. bench, grill, waste station, fire extinguisher, etc., can be
          relocated elsewhere on the property provided it is compliant with
          applicable building codes);

    c)    Defendants will use materials to complete required retrofits that are of
          equivalent kind, quality, and nature to what was originally installed as
          part of the original design (based upon the original plans or
          specifications, if available) and that will require an equivalent effort or
          cost to install (e.g. replacing laminate countertops with stone would
          constitute an unreasonable cost increase, and replacing laminate with
          similarly priced tile would constitute an unreasonable and material
          increase in the effort and cost to install);

    d)    Defendants need not modify compliant elements in order to establish
          continuity of design, color, or aesthetics (e.g. repaint walls to match
          new floors, or replace or paint cabinets to match countertops);

    e)    Defendants need not extend alterations associated with a retrofit
          beyond the affected room (e.g. replaced flooring need not be extended
          beyond door thresholds to other rooms, or cabinets in other rooms need
          not be replaced to match retrofitted cabinets);

    f)    Defendants may select a source or vendor for materials, fixtures, or
          appliances provided the material, fixture, or appliance is of comparable
          quality (e.g. name brand appliances are interchangeable); and

    g)    Defendants will not make or implement any retrofits to any originally
          constructed condition, element, feature, or fixture that was rendered
          inaccessible by a subsequent property owner.




                                       49
 Case: 1:19-cv-00346-DRC Doc #: 49 Filed: 08/27/20 Page: 50 of 63 PAGEID #: 521




                                    APPENDIX C

                              NOTICE TO TENANTS
Dear Tenant:

       This is to advise you that, as a result of a settlement in a case brought by the
United States against the owners of this apartment complex, we have agreed to
make certain retrofits to the ground floor units [all units if elevator building] at
_______ [Subject Property] to provide greater accessibility for people with
disabilities. Your unit qualifies for those retrofits.

       Although your apartment unit will be retrofitted automatically after your
tenancy ends, we want you to know that you may request to have those retrofits
performed sooner at no cost to you. The actual work will take no longer than ___
days from the date construction begins and we will provide you with another unit in
this development or comparable alternative living arrangements during that time.
If an alternative living arrangement is unavailable, we will provide you with a
payment equivalent to the U.S. General Services Administration rate for temporary
relocation expenses you incur. In scheduling when the retrofits will take place, we
will take into account your preferences and convenience.

       You should be aware that this work must be completed within the next
[years], regardless of your intention to stay in your apartment for a longer
duration. Please let us know if you are interested in having the retrofits done now
and we will provide you with additional information.

The Management




                                          50
 Case: 1:19-cv-00346-DRC Doc #: 49 Filed: 08/27/20 Page: 51 of 63 PAGEID #: 522




                                   APPENDIX D

                       UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF OHIO
                            WESTERN DIVISION

                                          )
UNITED STATES OF AMERICA,                 )
                                          )
                  Plaintiff,              )
                                          )
      v.                                  )
                                          )
MILLER-VALENTINE                          )
OPERATIONS, INC., et al.,                 )
                                          )
                  Defendants.             )
__________________________________________)

   NOTICE TO POTENTIAL VICTIMS OF ALLEGED DISCRIMINATION
            AGAINST PERSONS WITH DISABILITIES AT
          MILLER-VALENTINE APARTMENT COMPLEXES

       On ______________________, 2020, the United States District Court for the
Southern District of Ohio entered a Consent Order resolving a housing discrimination
lawsuit brought by the United States against Miller-Valentine Operations, Inc., et
al., and related apartment complex owners at eighty-two apartment complexes
throughout Illinois, Indiana, Iowa, Kansas, Kentucky, Missouri, North Carolina,
Ohio, Oklahoma, Pennsylvania, Tennessee, Texas, and West Virginia. The United
States alleges that the units and many common use areas (for example, rental offices,
routes to amenities, etc.) are not accessible to persons with physical disabilities. As
part of the Consent Order, Defendants have agreed to retrofits to elements of the
units and common use areas that are covered by the Fair Housing Act and the
Americans with Disabilities Act at the following apartment complexes:

      1.     Galena Estates, Galena, KS
      2.     Reserve at Oak Spring, Clarksburg, WV
      3.     Lyons Place II, Dayton, OH
      4.     Oak Ridge Apartments, Nolanville, TX
      5.     Reserve at Spencer, Spencer, OK
      6.     Fairway Breeze Apartments, El Reno, OK
      7.     Silversage Point at Western Center, Fort Worth, TX
      8.     Hampshire Landing, Joplin, MO
      9.     Riverside Landing at Delaware Place, Delaware, OH
      10.    St. Bernard Commons, St. Bernard, OH


                                          51
Case: 1:19-cv-00346-DRC Doc #: 49 Filed: 08/27/20 Page: 52 of 63 PAGEID #: 523




    11.   Twin Lakes Senior Villas, Rantoul, IL
    12.   Carriage Trails Senior Villas, Huber Heights, OH
    13.   Gallatin Park Apartments, Gallatin, TN
    14.   Meadow Vista Senior Villas, Altoona, IA
    15.   Summit Pointe, Lawrenceburg, IN
    16.   The Enclave at Winston-Salem, Winston-Salem, NC
    17.   Whitehouse Square Senior Villas, Whitehouse, OH
    18.   Allegheny Pointe, Apollo, PA
    19.   Lyons Place I, Dayton, OH
    20.   Waterstone Landing, Perrysburg, OH
    21.   Lofts at One West High, Oxford, OH
    22.   St. Rita’s Senior Housing, Garfield Heights, OH
    23.   Faith Community Housing, Crestline, OH
    24.   Lake Towne Senior, Walbridge, OH
    25.   Queen Esther’s Village, Canton, OH
    26.   Walkers Ridge Apartments, Greensburg, PA
    27.   Walnut Run Senior Villas, Cortland, OH
    28.   Harmony Senior Village, Williamsburg, OH
    29.   Lofts at Hoover, Dayton, OH
    30.   Pinecrest Apartments, Walkertown, NC
    31.   Pine Ridge, Logan, OH
    32.   Riverview Bluffs, New Richmond, OH
    33.   Villas at Twin Cedars, Hickory, NC
    34.   Pheasant Run Senior, Dayton, OH
    35.   Scioto Woods II, Chillicothe, OH
    36.   Wright Place Apartments, Xenia, OH
    37.   Madison Place Senior, Gastonia, NC
    38.   Honey Creek, Greenwood, IN
    39.   River Crossing, Charlotte, NC
    40.   Sandhurst, Zanesville, OH
    41.   The Landings at Steele Creek I, Charlotte, NC
    42.   Twin Cedars I, Hickory, NC
    43.   Deerfield Crossing, Lebanon, OH
    44.   Holly Hills Apartments, Jackson, OH
    45.   Mallard Glen, Amelia, OH
    46.   Mallard Landing, Marion, OH
    47.   The Landings at Steele Creek II, Charlotte, NC
    48.   Twin Cedars II, Hickory, NC
    49.   Bridge Street Landing, Chillicothe, OH
    50.   Brookdale Trillium Crossing, Columbus, OH
    51.   Brookstone Apartments, Bellefontaine, OH
    52.   Cedar Wood Apartments, Mansfield, OH
    53.   Meadow Creek Apartments, Bryan, OH
    54.   Mill Pond, Muncie, IN



                                     52
 Case: 1:19-cv-00346-DRC Doc #: 49 Filed: 08/27/20 Page: 53 of 63 PAGEID #: 524




      55.       Oak Wood Apartments, Lexington, OH
      56.       Sycamore Creek Apartments, Sidney, OH
      57.       Timberlake Apartments, Vandalia, OH
      58.       Windsor Place, Beavercreek, OH
      59.       Bent Tree Apartments II, Piqua, OH
      60.       Eagles Point Apartments, Kenton, OH
      61.       Glen Arbors Apartments, Napoleon, OH
      62.       Hoover Place, Dayton, OH
      63.       Indian Trace II, Oxford, OH
      64.       Waterbury Apartments, Decatur, IN
      65.       Breckenridge Apartments, Findlay, OH
      66.       Fox Run, Trotwood, OH
      67.       Hunter’s Oak Apartments, Greenville, OH
      68.       Indian Trace I, Oxford, OH
      69.       Quail Run Apartments, Van Wert, OH
      70.       Scioto Woods I, Chillicothe, OH
      71.       Aspen Grove Apartments, Middletown, OH
      72.       Bent Tree Apartments I, Piqua, OH
      73.       Cobblegate Square Apartments, Moraine, OH
      74.       Siena Village Senior Living, Dayton, OH
      75.       Stone Creek Apartments, Moraine, OH
      76.       Timber Glen II (TGII), Batavia, OH
      77.       Timber Ridge Apartments, Dayton, OH
      78.       Weaver Farm Apartments, Florence, KY
      79.       Wind Ridge Apartments, Tipp City, OH
      80.       Cedar Trail, Bellbrook, OH
      81.       Harbour Cove Apartments, Cincinnati, OH
      82.       Meadow View South, Springboro, OH

      The Consent Order also establishes a Settlement Fund to compensate
persons who have been harmed as a result of this alleged discrimination at any of
the above-named complexes. You or members of your family may be qualified to
recover from the Settlement Fund if you or members of your family:

            •   were discouraged from living at any of the above-named complexes
                because of the lack of accessible features of the apartment or the
                complex;

            •   rented an apartment but were unable to use, or had difficulties using
                portions of your apartment or the complex because they were not
                accessible (including the inability to have visitors who have
                disabilities);

            •   paid to have any portion of your apartment or the complex
                modified to be more accessible;


                                           53
 Case: 1:19-cv-00346-DRC Doc #: 49 Filed: 08/27/20 Page: 54 of 63 PAGEID #: 525




          •   were not informed about, or offered, all available apartment units
              because of your disability or the disability of someone who would be
              living with you; or

          •   requested and were denied a reasonable accommodation for your
              disability or the disability of someone who was living with you.

If you believe you may have been harmed because of your disability at any of the
above-named apartment complexes, or if you have information about someone else
who may have been harmed, please contact the United States Department of
Justice at: 1-800-XXX-XXXX, ext. XX.

You also may write to United States Department of Justice, Civil Rights Division,
Housing and Civil Enforcement Section, 150 M Street, NE, Washington, DC, 20530,
Att: DJ 175-58-251

*** You must call or write no later than 1 year from the [date of entry
of the Consent Order] to be eligible for compensation, and your
telephone message or letter must include your name, address, and, if
possible, at least two telephone numbers where you may be reached.




                                         54
 Case: 1:19-cv-00346-DRC Doc #: 49 Filed: 08/27/20 Page: 55 of 63 PAGEID #: 526




                                    APPENDIX E

                            RELEASE OF ALL CLAIMS

       In consideration of and contingent upon the payment of the sum of ($______ ),
in accordance with the Consent Order entered in United States v. Miller-Valentine
Operations, Inc., et al., 19-cv-346 (S.D. Ohio), by the United States District Court,
Southern District of Ohio, I hereby release and forever discharge Defendants named
in this action from any and all liability for any claims, legal or equitable, I may have
against them arising out of the issues alleged in this action as of the date of the entry
of that Consent Order. I fully acknowledge and agree that this release of Defendants
will be binding on my heirs, representatives, executors, successors, administrators,
and assigns. I hereby acknowledge that I have read and understand this release and
have executed it voluntarily and with full knowledge of its legal consequences.


                                                (Signature)

                           NAME: _____________________________

                           ADDRESS: _____________________________




                           DATE: _____________________________




                                           55
 Case: 1:19-cv-00346-DRC Doc #: 49 Filed: 08/27/20 Page: 56 of 63 PAGEID #: 527




                                    APPENDIX F

         ACKNOWLEDGMENT OF RECEIPT OF CONSENT ORDER

       On _________, I received a copy of and have read the Consent Order entered by
the federal district court in United States v. Miller-Valentine Operations, Inc., et al.,
19-cv-346 (S.D. Ohio). I have had all of my questions concerning the Consent Order,
the Fair Housing Act, and the Americans with Disabilities Act answered to my
satisfaction.


                                         ________________________
                                         (Signature)


                                         ________________________
                                         (Print
                                         name)


                                         _______________________
                                         (Position)


                                         ________________________
                                         (Date)




                                           56
 Case: 1:19-cv-00346-DRC Doc #: 49 Filed: 08/27/20 Page: 57 of 63 PAGEID #: 528




                                  APPENDIX G

              CERTIFICATION OF FAIR HOUSING TRAINING

       On _________, I attended training on the federal Fair Housing Act and
Americans with Disabilities Act, including its requirements concerning physical
accessibility for people with disabilities. I have had all of my questions concerning
the Fair Housing Act and Americans with Disabilities Act answered to my
satisfaction.



      _________________________
      (Signature)



      ________________________
      (Print name)



      ________________________
      (Position)



      ________________________
      (Date)




                                         57
 Case: 1:19-cv-00346-DRC Doc #: 49 Filed: 08/27/20 Page: 58 of 63 PAGEID #: 529




                                   APPENDIX H

   NOTICE OF RETROFITS TO PUBLIC AND COMMON USE AREAS AT
                    [SUBJECT PROPERTY]

      The federal Fair Housing Act requires that the public and common use areas
at complexes such as [SUBJECT PROPERTY] have certain features of physical
accessibility for persons with disabilities.

       As a result of recent events, it has been brought to our attention that certain
features of the public and common areas of [SUBJECT PROPERTY] can be modified
to provide greater accessibility for persons with disabilities, consistent with the
accessibility requirements of the federal Fair Housing Act. We welcome persons with
disabilities as residents and guests at [SUBJECT PROPERTY]. We are writing this
notice to let you know that beginning on [DATE], contractors will be coming onto the
property to begin the process of modifying certain aspects of the public and common
use areas. We expect the process to last approximately ______ weeks, weather
permitting.

       Generally, the workers will modify or “retrofit” certain sidewalks, install curb
cuts and ramps or modify existing ones along certain pathways to certain ground-
floor units. They will also be making some modifications to the leasing office and
laundry facility, as well as to other areas, to make them more accessible to persons
with disabilities. We apologize for any inconveniences you may incur as a result of
this work.

      If you have any questions regarding these modifications, please
contact us at _____________.




                                          58
Case: 1:19-cv-00346-DRC Doc #: 49 Filed: 08/27/20 Page: 59 of 63 PAGEID #: 530




                                 APPENDIX I

                         LIST OF ORGANIZATIONS


 •   HOPE Fair Housing Center, 202 W. Willow St., Ste. 203, Wheaton, IL 60187

 •   Open Communities, 990 Grove St., #500, South Suburban Housing Center,
     18220 Hardwood Avenue, Ste. #1, Homewood, IL 60430

 •   Statewide Independent Living Council of Illinois, One West Old State Capitol
     Plaza, Ste. 716, Springfield, IL 62701

 •   Center for Disability and Elder Law, 205 W. Randolph, Ste. 1610, Chicago, IL
     60606

 •   Equip For Equality, 20 North Michigan Ave., Ste. 300, Chicago, IL 60602

 •   Housing Action Illinois, 67 E Madison St., Ste. 1603, Chicago, IL 60603

 •   Prairie State Legal Aid, 303 N Main St., Ste. 600, Rockford IL, 61101

 •   Fair Housing Center of Indiana, 445 N. Pennsylvania St., Ste. 811,
     Indianapolis, IN 46204

 •   Central Indiana Aging and Disability Resource Center, 8440 Woodfield
     Crossing Blvd., Ste. 175, Indianapolis, IN 46240-4359; and 110 N. Main St.,
     Martinsville, IN 46151

 •   Disability Legal Services of Indiana, 5954 N College Ave., Indianapolis, IN
     46220

 •   Indiana Statewide Independent Living Council, P.O. Box 801, Danville, IN
     46122

 •   Family Housing Advisory Services, Inc., Iowa Office, 10 S 4th St. Council
     Bluffs, IA 51503

 •   Disability Rights Iowa, 400 E Court Ave., Ste. 300, Des Moines, IA 50309

 •   Iowa Legal Aid, 1111 9th Street, Suite 230, Des Moines, IA 50314

 •   Iowa Statewide Independent Living Council, 300 East Locust, Ste. 300, Des
     Moines, IA 50309



                                       59
Case: 1:19-cv-00346-DRC Doc #: 49 Filed: 08/27/20 Page: 60 of 63 PAGEID #: 531




 •   Disability Rights Center of Kansas, 214 SW 6th Ave., Ste. 100, Topeka, KS
     66603

 •   Statewide Independent Living Council of Kansas, P.O. Box 692, Tonganoxie,
     KS 66086

 •   Lexington Fair Housing Council, 207 E Reynolds Rd # 130, Lexington, KY
     40517

 •   Kentucky Protection and Advocacy, 5 Mill Creek Park, Frankfort, KY 40601

 •   Kentucky Statewide Independent Living Council, Department for Aging and
     Independent Living, 275 E. Main Street 3E-E, Frankfort, KY 40621

 •   Metro St. Louis Equal Housing, 1027 S Vandeventer Ave # 4, St. Louis, MO
     63110

 •   Great Plains ADA Center, 100 Corporate Lake Dr., Columbia, MO 65203

 •   Disabled Citizens Alliance for Independence, Inc., P.O. Box 675, Viburnum,
     MO 65566

 •   MSU Disability Resource Center, 901 S. National Ave., Springfield, MO
     65897

 •   Missouri Protection & Advocacy Services, 925 South Country Club Dr.,
     Jefferson City, MO 65109

 •   Missouri Independent Living Council, P.O. Box 104174, Jefferson City, MO
     65110

 •   Center for Human Services, 1500 Ewing Drive, Sedalia, MO 65301

 •   North Carolina Fair Housing Center, 114 West Parrish Street, Durham, NC
     27701

 •   North Carolina Housing Coalition, 118 St. Mary’s Street, Raleigh, NC 27685

 •   North Carolina Statewide Independent Living Council, 505 Oberlin Road,
     Suite 206, Raleigh, NC 27605

 •   Alliance of Disability Advocates, 1012 Oberlin Road, Suite 300, Raleigh, NC
     27605


                                       60
Case: 1:19-cv-00346-DRC Doc #: 49 Filed: 08/27/20 Page: 61 of 63 PAGEID #: 532




 •   Disability Rights and Resources, 600 East Trade Street, Charlotte, NC 28202

 •   Disability Rights North Carolina, 3724 National Drive, Suite 160, Raleigh,
     NC 27612

 •   Fair Housing Project, 224 South Dawson Street, Raleigh, NC 27601

 •   Central Ohio Fair Housing Association, Rhodes State Office Tower, 30 E
     Broad St, 5th floor, Columbus, OH 43215

 •   Fair Housing Advocates Association, 520 S. Main Street #2459, Akron, Ohio
     44311

 •   Fair Housing Contact Service, Inc., 441 Wolf Ledges Pkwy #200, Akron, OH
     44311

 •   Fair Housing Resource Center, Inc., 1100 Mentor Ave, Painesville, OH 44077

 •   Heights Community Congress, P.O. Box 18492, Cleveland Heights, OH
     44118-0492

 •   Fair Housing Center for Rights and Research, 2728 Euclid Ave #200,
     Cleveland, OH 44115

 •   Miami Valley Fair Housing Center, Inc., 1101 Vermont Ave NW,
     Washington, DC 20005

 •   Toledo Fair Housing Center, 432 N. Superior, Toledo, OH 43604

 •   Disability Rights Ohio, 200 S Civic Center Dr. #300, Columbus, OH 43215

 •   Ohio Association on Aging, 88 E. Broad St, Suite 870, Columbus, Ohio 43215

 •   Ohio Statewide Independent Living Council 670 Morrison Rd., Suite 200,
     Gahanna, OH 43230

 •   Metropolitan Fair Housing Council of OK, Inc., 312 NE 28th St Suite #112,
     Oklahoma City, OK 73105

 •   Oklahoma Disability Law Center, 5600 N. May Ave., Suite 260, Oklahoma
     City, OK 73112




                                       61
Case: 1:19-cv-00346-DRC Doc #: 49 Filed: 08/27/20 Page: 62 of 63 PAGEID #: 533




 •   Oklahoma Statewide Independent Living Council, 3535 NW 58th Street,
     Suite 480, Oklahoma City, OK 73112

 •   Philadelphia Corporation for Aging, 642 North Broad Street, Philadelphia,
     PA 19130-3424

 •   Philadelphia Statewide Independent Living Council, 207 House Avenue,
     Suite 107, Room 14, Camp Hill, PA 17011

 •   Tennessee Fair Housing Council, 107 Music City Cir, Nashville, TN 37214

 •   Disability Rights Tennessee, 2 International Plaza, Ste. 825, Nashville, TN
     37217

 •   Tennessee Commission on Aging and Disability, 502 Deaderick St, Nashville,
     TN 37243

 •   TN Disability Coalition, 955 Woodland St., Nashville, TN 37206

 •   Tennessee Disability Pathfinder (Vanderbilt Kennedy Center for Excellence
     in Developmental Disabilities), 110 Magnolia Circle, Nashville, TN 37203

 •   The Memphis Center for Independent Living, 5100 Poplar Avenue, Ste. 810,
     Memphis, TN 38137

 •   Tennessee Statewide Independent Living Council, Statewide Independent
     Living Council, 23 Federal Drive, Jackson, TN 38305

 •   Austin Tenant's Council, 1640 E 2nd St # B150, Austin, TX 78702

 •   Fair Housing Council of Greater San Antonio, 4414 Centerview Dr. #229, San
     Antonio, TX 78228

 •   Greater Houston Fair Housing Center, Inc., 2626 S Loop W Fwy #406,
     Houston, TX 77054

 •   North Texas Fair Housing Center, 8625 King George Dr., Dallas, TX 75235

 •   Texas State Independent Living Council, 1524 South Interstate 35, Ste. 320,
     Austin, TX 78704

 •   Coalition of Texans with Disabilities, 1716 San Antonio St., Austin, TX 78701




                                       62
Case: 1:19-cv-00346-DRC Doc #: 49 Filed: 08/27/20 Page: 63 of 63 PAGEID #: 534




 •   Disability Rights West Virginia, 1207 Quarrier St., Ste. 400, Charleston, WV
     25301

 •   Mountain State Centers for Independent Living, 329 Prince St., Beckley, WV
     25801

 •   Legal Aid of West Virginia, 922 Quarrier St., 4th Fl., Charleston, WV 25301

 •   West Virginia Statewide Independent Living Council, P.O. Box 625, Institute,
     WV 25112

 •   Northern West Virginia Center for Independent Living, 601-603 East
     Brockway, Suite A & B, Morgantown, WV 26501




                                       63
